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 THE VALUE OF EUROPEAN PATENTS
                     EVIDENCE FROM
       A SURVEY OF EUROPEAN INVENTORS




  FINAL REPORT OF THE PATVAL EU PROJECT

              Contract HPV2-CT-2001-00013




                         January 2005
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                                                      SECTION 1. THE ECONOMIC VALUE OF PATENTS IN EUROPE




SECTION 1. THE ECONOMIC VALUE OF PATENTS IN EUROPE



1.1    The value of European patents


The transition of the European Union towards the “knowledge-based economy” is a priority of the
agenda of the Lisbon Summit (European Commission, 2003a). The investment in education,
research and innovation is crucial to achieve these goals.

This report focuses on a number of ingredients that determine the innovative performance of the
European countries and their potentialities for economic growth. It includes key figures concerning
the research inputs (such as the characteristics of the inventors, the motivations to innovate, the
characteristics of the innovation process), and the innovative performance of six European countries
(i.e. the value of the innovations produced by European inventors).

The data on which the report is based are drawn from a survey of a large sample of inventors of
EPO patent applications. The survey was carried out under the PatVal-EU project sponsored by the
European Commission (see Section 2 for details). These data, which are not available from any
other source, will be used to understand how economically valuable innovations are invented in
Europe, and to derive implications for increasing the number of inventions that yield economic
returns.

There is a long literature on innovation. Some contributions use data on human resources devoted to
R&D and other input measures such as company R&D expenditure. Many studies employ the
information drawn from the patent documents. The use of patent citations, for example, has become
fairly standard in the literature (for a survey see Hall et al., 2001). Citations made to previous
patents are used as indicators of knowledge spillovers from the cited to the citing innovations (Jaffe
et al., 1993). Citations received by a patent are a proxy for the importance/value of the innovation.
Several contributions also show that there is a positive relationship between patent indicators and
the ex-post value of the innovations as given by traditional accounting evaluation (Hall et al., 2005).
A classical contribution is Trajtenberg (1990), who shows that there is a non-linear association
between patent counts weighted by forward citations and the social value of innovations in the
Computer Tomography Scanner industry. Harhoff et al. (1999a) claim that the number of backward
citations to other patents and to the non-patent literature, and the number of citations received after
the publication of a patent are positively correlated with the value of the innovation. This also holds
true for patents applied for in many countries, and for patents that incur in opposition and
annulment procedures (Harhoff and Reitzig, 2004). Griliches et al. (1987) use data on patent
renewal rates and fees to estimate the private value of patent rights (see also Pakes and
Schankerman, 1984; Pakes, 1986; Schankerman and Pakes, 1986). Lanjouw and Schankerman
(2004) use multiple indicators to construct a composite measure of the quality of patents, and show
that forward citations and claims are the most informative indicators. After controlling for the
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physical capital stock of the firms, another set of studies correlate the market value of the firms with
the stock of R&D and patents, and find a positive and significant marginal value of the patent stock
(Pakes, 1985; Hall, Jaffe and 2005, 1999; Lerner, 1994).

Another stream of the literature examines the motivations to patent and the use of the innovations.
Some contributions examine the transfer of patent rights, and more generally the rise of markets for
technology. However, the research on this issue is limited by the availability of detailed data on the
economic use of patents and the licensing strategies of the firms. These limitations explain the focus
of this part of the literature on sectors in which there is a high propensity to license, like
semiconductors, chemicals and computers (Anand and Khanna, 2000; Cohen et al., 2000; Grindley
and Teece, 1997; Hall and Ziedonis, 2001; Arora, Fosfuri and Gambardella, 2001; Cesaroni, 2003).
As far as the motivations to patent are concerned, Cohen, Nelson and Walsh (2000) show that in the
US patents are not the most important means for appropriating the returns from innovation. Secret,
lead-time and investments in complementary assets are on average more important. They also claim
that, apart from the mere protection of innovations that are exploited internally, licensing, cross-
licensing and other strategic reasons are also important reasons to patent.

Although these patent and non-patent indicators have been used extensively in the literature, they
have limitations as well (see Griliches, 1990 for patent indicators). More detailed and original data
would be necessary to increase our understanding of the process and products of R&D activities.
This was the aim of the PatVal-EU survey that was directed to the actors of the innovation process
(i.e. the inventors) in order to open the “black box” of the innovation process and to understand the
determinants of the economic value of the innovations.

This report describes the following four aspects of the European innovation system, and highlights
the differences among the six European countries that were part of the survey:

      1. the characteristics of the European inventors such as their education, their employment
         status, their mobility across different companies and institutions;
      2. the features of the innovative process and the sources of knowledge that the inventors use to
         produce the innovations;
      3. the property rights and the inventors’ rewards;
      4. the use and the economic value of patents.
The rest of this section summarises the methodology used in the project and the key findings of the
research. Section 2 provides details about the sample of patents whose inventors have been
interviewed, and describes the methodology adopted to conduct the survey. Sections 3 to 6 present
the key figures on the four issues listed above. Section 7 concludes and presents some future
research agenda based on the PatVal-EU data.


1.2      The Inventors and the Invention process


The primary goal of the PatVal-EU survey was to gather information on the economic value of the
European patents. The PatVal-EU survey, however, produced other interesting and unique data on:

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the characteristics of the inventors, like their age, educational and work background, the institutions
to which they belong; the process that led to the innovation such as the sources of knowledge used
in the research leading to the patent, the setting up of formal or informal collaborations among
individual inventors and organisations; the motivations to patent and the use of property rights,
such as the licensing behaviour of firms, the strategic reasons to patent, etc. By combining together
these information we will get a better understanding of the relationship between the input and
output variables of the innovation process. In turn, this will help derive policy implications for the
European innovative and economic performance.



1.3       The Survey of European Inventors


The full scale PatVal-EU survey was conducted from May 2003 to January 2004, and was directed
to the inventors of 27,531 EPO patents with priority date in 1993-1997 located in France, Germany,
Italy, the Netherlands, Spain and the United Kingdom. The targeted number of patents for which we
expected the inventors to respond was 10,000. In the end the European inventors responded to 9,216
questionnaires covering 9,017 patents.

The distribution of the surveyed patents across countries is the following: 3,346 patents are invented
in Germany, 1,486 in France, 1,542 in the UK, 1,250 in Italy, 1,124 in the Netherlands, and 269 in
Spain. The number of patents surveyed in each country mirrors the relative size of the country
population.

Section 2 describes the questionnaire, the sampling decisions, the pilot tests, the problems we faced
during the survey, and the solutions we adopted. It also illustrates the composition of the final
sample.



1.4       Key Findings


This sub-section summarizes the main findings of the PatVal-EU project. Sections 3 to 6 present the
detailed Tables and Figures, and discuss the results.

Inventors’ characteristics
         Education. Three fourths of the European inventors in the PatVal-EU dataset have a
          university degree. Only one fourth of them has a Ph.D. Italy has a different profile with
          about 56% of the inventors with tertiary education, and only 3% with a Ph.D.
         Employment status. At the time when the research leading to the patent was performed
          around 90% of the European inventors were employed in other people’s organisations. Self-
          employment was limited to fewer than 8% of the inventors. The business sector and in
          particular the large firms employed the vast majority of the inventors in all six countries.
         Researchers’ mobility. The European inventors show a low mobility across jobs during
          their carrier. About three fourths of the inventors never moved from their job. The UK is
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       the country with the largest share (almost 40%) of inventors who changed job at least once
       during their carrier.

The innovation process
      Inventors’ collaborations. “Single” inventors develop only one third of the overall PatVal-
       EU patents. This suggests that the formation of research teams for producing innovations is
       frequent among European inventors.
      Inventors’ affiliation. “Organisational proximity” among inventors matters: 76% of the
       patents are invented by inventors belonging to the same organisation, and only 24% of the
       patents are developed by inventors affiliated to different organisations. Moreover,
       “organisational proximity” is particularly important for collaboration if the researchers are
       geographically close.
      Collaborations between organisations. About 20% of the PatVal-EU patents are developed
       through collaborations between the employer organisation and other partners, with
       variations across countries. In particular, the (large) French and German companies tend to
       rely less than companies in other countries on external collaborations, and they use more
       extensively competencies internal to the firm. Moreover, 75% of these collaborations are
       formalised through specific contracts. Only one fourth of the collaborations are managed on
       an informal basis.
      Sources of innovation. The firm’s customers are the most important source of innovation,
       followed by the knowledge supplied by the patent literature and the scientific literature. The
       interaction with the firm’s competitors, the participation in conferences and workshops and
       the contacts with the suppliers rank afterwards. Surprisingly, university and non-university
       research laboratories are at the bottom of the list. This is so for the EU6 as a whole, with
       very little variation among countries.
      Origins of the innovation. Half of the innovations are the direct or indirect output of a
       targeted research project. In the other 50% of the cases, the innovations arise unexpectedly
       from research projects undertaken for other purposes, or from activities other than the
       inventing activity.
      Intertwined patents. About 44% of the EU6 patents are part of a group of “intertwined
       patents”. We defined intertwined patents to be “a group of patents that crucially depend on
       each other technically or in terms of their value”. The wording in quotes was reported in the
       question so that the interviewee knew what we meant about intertwined patents.
      Sources of funding. The firm’s internal funds cover the production of about 90% of the
       PatVal-EU innovations. Government research funds rank second with about 8% of the
       patents. The rest of the funding comes from unaffiliated organisations that join the research
       project, and from banks and other financial institutions.

Motivations to patent
      Inventors’ rewards. The inventors consider monetary rewards and other rewards like career
       advances or benefits less important than personal and social rewards, like personal
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       satisfaction, prestige, reputation, and the contribution to the performance of the
       organization.
      Monetary compensation. About 40% of the European inventors received some monetary
       compensation for their innovations. In 90% of these cases the compensation was transitory.
       There are, however, significant differences among countries. For example, as we shall
       discuss in Section 5, the German compensation schemes encourages the applicant
       organisations to compensate their inventors. As a result about 60% of the German inventors
       received a monetary compensation, while this was the case only for 15% of the Spanish and
       Dutch inventors.
      Reasons to patent: the firm’s point of view. At the company level, the most important
       reason to patent is the commercial exploitation of the innovation, together with the
       possibility of preventing imitation. The possibility to block competitors that might patent
       similar innovations comes next. Licensing and cross licensing are considered less important.
       At the bottom of the list there is the need to gain reputation.

The use of patent rights and the value of the innovations
      The use of patents. Not all patents are used for commercial exploitation: about 40% of the
       European patents in our sample are never used for industrial or commercial purposes. Some
       innovations are patented for strategic reasons (i.e. blocking rivals). Others are licensed out
       (about 13% of the PatVal-EU patents), and yet others are not used for commercial purposes
       because of strategic reasons or because the owners lack the complementary downstream
       assets to exploit them.
      Start-up firms. Innovations can be exploited economically by starting up a new firm (about
       5% of the cases) that is based on the patented innovation. This share is higher in the UK and
       Spain, and falls to less than 3% in Germany.
      The value of European patents. Consistently with previous findings in the literature, the
       economic value (measured in monetary terms) of the PatVal-EU patents is skewed: a small
       share of patents yields very high economic returns. The distribution of the high value patents
       is slightly different among countries.




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SECTION 2.             THE SURVEY OF EUROPEAN INVENTORS



2.1    Overview of the methodology


The PatVal-EU dataset is based on a survey directed to 27,531 patents applied for at the EPO with
priority date 1993-1997. At the time of the innovation, the inventors of these patents were located in
the six European countries that participate in the project: France, Germany, Italy, the Netherlands,
Spain, and the United Kingdom. The production of the questionnaire was highly interactive. The
team members held several meeting and interacted regularly via phone and email. The questionnaire
underwent three pilot tests before the full scale survey.

The next sub-sections illustrate the methodology adopted in the survey. Section 2.2 describes the
content and the structure of the questionnaire. Section 2.3 discusses the criteria to select the sample
of patents and inventors. Section 2.4 illustrates the methodology used to interview the inventors
(mail, web, telephone), the procedures adopted for searching their addresses, and the outcomes of
the three pilot tests. Section 2.5 reports the details of the full scale survey in the six countries, and
section 2.6 shows the composition of the final dataset.



2.2    Questionnaire


The questionnaire, which is attached to this report as Annex I, sought to collect information about
the invention process and its output that is not available from other sources. It focussed on the
following topics:

1. Information about the economic value of the patents. E.g. information about the costs and time
   of the research that led to the patented innovation; the inventor’s estimate of the strategic and
   economic value of the patent both in categorical terms (we asked the inventor to locate the
   patent among the top 10%, 25%, 50% or in the bottom 50% category of patents in the industry
   or technological field) and in monetary terms (we proposed a hypothetical situation where the
   applicant had to sell the patent to a potential competitor).

2. Information about the inventors. E.g. age, educational and professional background, affiliation.

3. Information about the process that led to the invention. E.g. information about the sources of
   knowledge that were used in the research project and the assessment about the importance of the
   most relevant sources of knowledge (i.e. University laboratories, scientific literature, patent
   literature, and technical conferences and workshop); the use of collaborations and interactions
   with other actors during the research leading to the patent.


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4. Information about property rights. E.g. we asked if the patent right was licensed out and to
   whom, the strategic motive for patenting (for example, if the patent was licensed for commercial
   exploitation, for licensing/cross-licensing, or as a means for blocking rivals) and whether the
   patent gave rise to litigations.

The questionnaire was articulated in six sections:

         Section A: Personal Information of the inventors

         Section B: Education of the inventors

         Section C: Inventors’ Employment and Mobility

         Section D: The Invention Process

         Section E: Inventors’ Rewards

         Section F: The Value of the Patent.



2.3       Definition of the sample



Countries
According to the EPO EPASYS database, at the time of the survey our six countries covered 42.2%
of the total EPO patents by country of first inventor, and 88% of the EPO patents with country of
first inventor being one of the EU-15.

The share of questionnaires submitted to the inventors in each country was roughly proportional to
the country shares in the population of patents. Patents were assigned to countries according to the
location of the first inventor listed in the patent document. With this criterion, the EPO EPASYS
database produced the following country shares in the population of patents: the Netherlands
(6.2%), Germany (49.7%), France (19.5%), UK (15.0%), Italy (8.5%) and Spain (1.07%). We
under-sampled the share of German and French patents, and over-sampled the patents invented in
the other countries in order to have sufficiently large samples for all the countries. To obtain about
10,000 returned questionnaires, we set the following targets by country: Germany 3500
questionnaires, France 1750, UK 1750, Italy 1250, Netherlands 1250, Spain 500. The response rate
obtained in the preliminary phases helped decide the final number of questionnaires to send to the
inventors in each country in order to obtain returns close to our targets.


Period
Our population is composed of all the EPO patents with priority date between 1993 and 1997 and
the address of the first inventor in one of our six countries. The choice of the time-period is justified
as follows. On the one hand, if we sampled “old” patents, it would be difficult to track the inventors
or to find inventors who had memory about the invention process. On the other hand, “recent”
patents might not carry enough information about their value and use. For the latter patents we also

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lack information about the mobility of the inventors after the innovation.


Over-sampling important patents
Since the existing literature shows that the distribution of patent values and impacts is highly
skewed, we over-sampled the “important” patents. We defined the latter as patents that were
opposed or that received at least one citation. The over-sampling allows us to have more
information on the upper tail of the distribution of the patent value. Clearly, this implies that we
have to be cautious when making inferences about the population of patents from our sample. Any
factor that is positively correlated with the importance of the patent will be overrepresented in our
sample, while any factor that is negatively correlated with importance will be underepresented.

Table 2.1 describes the population of 1993-1997 patents that were opposed, that were not opposed
with at least one citation, and patents that were not opposed and have zero citations. This will be
compared with Tables 2.2 and 2.7 below, which report the equivalent shares for the patents selected
for our full scale survey and those actually returned that compose our sample.

                    Table 2.1 Composition of the population of 1993-1997 patents, by country

 Group                                             DE          ES       FR       IT       NL       UK    EU6

 Opposed Patents                                   6.72%      4.17%     5.24%   5.12%    4.73%     3.92% 5.56%

 Not opposed and cited                            34.20%      19.02%   18.81%   25.30%   13.83%   11.51% 22.90%

 Others (not opposed and not cited)               59.08%      76.81%   75.94%   69.57%   81.44%   84.58% 71.54%

 Total                                            15595       815      14287    6205     3955     8222   49078

 Note: EU6 includes the six surveyed countries.




Multiple inventors
Some inventors invented more than one EPO patent. If they had to fill out multiple questionnaires,
they could decide to drop them all producing a potential bias against the more prolific inventors in
our sample. To avoid this problem, we treated the multiple inventors in the following way:

i) we sent a maximum of five questionnaires per inventor (i.e. five patents) even if he/she was
   listed in more than five of the patents that we had selected for submission of the questionnaire.
   This is to avoid work overload to the respondent, and to increase the probability that he/she
   responded. The cases of individuals with more than 5 patents selected for submission of the
   questionnaire were however very few;

ii) we sent some questionnaires to the co-inventors (if there was any) of the multiple patents’
    inventors;

iii) we asked the multiple patents’ inventors to fill out the complete questionnaire only for one
     patent and to skip Section A (personal information) and eventually Sections B and C (unless
     their answers were different) in the other patents;

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iv) we paid a special attention and exerted a special effort to convince the multiple patent inventors
    to respond.



2.4     Survey methods and pilot tests


To conduct the survey we first searched for the addresses of the inventors and their telephone
numbers. We then contacted the inventors, and sent them the questionnaires. All the countries, with
the exception of the Netherlands and France, used a professional poll-company for conducting some
steps of the survey. In France the survey was conducted by the Ministère de la jeunesse, de
l’éducation nationale et de la recherche. The Dutch team had internal skills to conduct the survey
and did not use a professional poll company.

The goals of Pilot tests 0 and 1 were to choose the methods for submitting the questionnaire (mail,
telephone, web) and to check if the respondents understood the questions clearly. In Pilot test 2 we
reproduced the conditions under which the full scale survey was going to be performed in order to
single out potential problems. We found that different methods were more suited according to the
country, the kind of expertise of the team, and the professional poll company. As we shall see
below, we then used telephone, mail or web according to the different structure of the phone
directories, and the different predisposition of the interviewees to answer by telephone, mail or web.


Searching for the inventors
The search of the recent address and telephone number of the inventors posed two problems. First,
at the time of the survey (2002-2003) the addresses of the “mobile” inventors changed with respect
to those listed in the patent application in 1993-1997. Second, the patent document does not include
the telephone number of the inventors, which was necessary to check their address and to contact
them for the telephone interviews.

To solve these problems we crosschecked the inventors’ addresses reported in the EPO database
with external directories of telephone customers in each country (i.e. the Yellow and White Pages).
We also established a common set of rules to search for addresses and telephone numbers in the six
countries. These were the following. We started by searching for the address and the telephone
number of the first inventor listed in each patent. We obtained on average 64% “exact matches” in
which the name-surname and address of the inventor listed in the patent corresponded to those
found in the White Pages. In these cases we could easily approach the inventors. In the remaining
cases, we had to devise ways to find the inventors. This is discussed under Pilot 1 below.1

Sometimes the inventor’s address reported in the patent is the address of the organisation in which
he/she is employed. In this case, we contacted the company and we asked to interview the inventor.
However, some inventors moved to another company after the innovation, which made it harder to
find them. In these cases we tried to crosscheck the inventor’s name with the White Pages in order

1
 The “exact match” rate for the UK (18%) was lower than the other countries (France 65%, Germany 86%, Italy 62%,
Netherlands 66%, Spain 89%). One reason is that in the UK people are asked whether they want to be listed in the
phone directory. In the other countries they are listed without asking, and one has to ask not to be listed.
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to reduce the under representation in our sample of the inventors who moved after the patented
invention.


Pilot 0
In Pilot 0 we submitted a draft questionnaire to 8-12 inventors in each country in April-June 2002.
They were selected among people whom we thought could provide good feedbacks on the process.
Some of these interviews were conducted face-to-face, others by telephone. We asked about the
phrasing of the questions, the length of the questionnaire, and the relevance of the subject in some
specific questions. We also asked the respondents to provide general comments, whether he/she was
the right person to answer our questions, and if he/she had memory about the (precise) answers.

The feedbacks from Pilot 0 were used to develop an improved version of the questionnaire and to
figure out the best way to approach the inventors. We also found that in order to have a higher
response rate, we needed some support from the Commission or other institutions. Through the
Scientific Officer of the PatVal-EU project, the Commission agreed to provide a letter
accompanying and supporting the questionnaire. The European Patent Office provided another
accompanying letter. In the additional steps of our survey we noted that many people felt more
comfortable in responding because of these letters, which helped reaching a higher response rate.


Pilot 1
Pilot 1 was conducted in October 2002. In each country the questionnaire was sent on average to
100 inventors in order to obtain responses for about 30 questionnaires. The goals of Pilot 1 were to
assess the phrasing and the effectiveness of the second version of the questionnaire, to investigate
the best method for administering the survey, to collect useful information for contacting the
inventors, to evaluate the time-length of the interview, and to have an idea of the expected response
rates.

The countries involved in the project used three modes to conduct the survey: a web based survey, a
postal survey and a telephone survey. All the countries, with the exception of the UK, first
contacted the inventors by phone in order to be sure about their identity and to inform them about
the objective of the survey.2

In the postal survey a paper questionnaire was sent to the inventors together with the accompanying
letters of the European Commission and the European Patent Office, and with a postage-paid return
envelope. When the questionnaires were not returned via mail within 3-4 weeks, we used telephone
follow-ups to raise the response rate.

In the case of the telephone survey, the questionnaire was sent by ordinary mail or by e-mail to
make the inventors familiar with the questions and to let them gather all the information needed to
complete the questionnaire. They were then contacted again and they were asked to fill out the
questionnaire by telephone. If specifically requested by the inventors they could return a paper copy
by regular mail or fax.


2
    The UK team used telephone contacts, when possible, only for follow up interviews.
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We created a website in which we uploaded the questionnaires in the six languages to test a web-
based version of the survey. The six sections were clearly identified and separated from each
another to avoid that the respondents confused the section in which they had to respond. The Dutch
team, which was responsible for developing the website and programme, put particular effort in
testing the web survey. It argued that because the Dutch inventors are familiar with the web, it
could be employed for the full scale survey without producing any particular bias; in turn, this
would reduce considerably the cost of obtaining a good response rate. The Dutch team sent a letter
to the inventors selected for this mode that explained the objective of the survey and provided them
with a username, a password and the website address. All the other teams gave the contacted
inventors the option to respond via web. The instructions (username, password and web address)
were indicated in the letter for the postal survey or the option was mentioned over the phone for the
telephone survey.

The results of Pilot 1 helped refine our survey in several ways. First, they helped improve the
questionnaire. Second, we realised that the best method to conduct the survey was different in
different countries. Therefore, while before Pilot 1 we meant to use only one method to interview
the inventors in all six countries, after Pilot 1 the differences observed across countries − mainly
different structure of the phone directories; different propensity of people to answer by telephone,
mail or web; different mobility of people − convinced us that we had to differentiate the survey
method to obtain a higher and less biased response rate. For example, the response rate to the web
survey was low in all countries, with the exception of the Netherlands and the UK. However, while
the Netherlands used the web survey also in the full-scale survey, the UK found that the postal
survey was the best method anyway. Germany decided to keep the option open and to offer the
possibility to fill out the web survey to the inventors.

Finally, Pilot 1 prompted us to codify a common procedure to retrieve the inventors whose address
in the White or Yellow Pages did not match with that in the patent document. To avoid sample
biases, we wanted our sample to include both inventors who did not move after the patent (i.e. same
address in the patent as in the telephone directory) and inventors who moved (i.e. not found in the
telephone directory or found with a different address). To help find the mobile inventors it was
decided to search for other EPO patents that they might have produced more recently (i.e. after
1997, last year of our survey) in order to obtain their “new” address. However, we also had to find
other criteria to avoid picking only mobile inventors who are more productive because they have
produced other EPO patents later on.

To be precise, we had to search for two types of “non-exact matches”, inventors with and without
EPO patents after 1997. In the former case, if the address in the later patent matched what we found
in the national phone directories, we considered it to be the new address of the inventor where to
contact him for submitting the questionnaire. The problem was for the inventors who did not have
other EPO patents or who had other patents but still the addresses did not match with the phone
directories. The latter were few cases, and for all practical purposes we can ignore them. The
inventors with no EPO patents after 1997 were the hardest to find. We were unable to devise any
good general criterion to look for them. It was then decided to follow the following steps:

   1. Check whether the same name-surname was in the city even though at a different address. In
      this case, call the person to check whether he was the inventor. If there were up to 2-3
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         individuals with the same name-surname, call them to find out whether one was the
         inventor.

    2. Search for the same name-surname in the wider regional area or at the national level. Again,
       with one or 2-3 name-surname call the person to find out whether he was the inventor.

    3. Check for the address of the second or third inventors (if there were any) in the 1993-1997
       EPO patent selected for our survey, and ask about the first inventor (including his address).
       When the first inventor was found, the questionnaire had to be submitted to him, otherwise
       to the second or third inventor.

    4. Check the US patent data set to find the inventor and an address that matched exactly what
       we had in the national directories, or surf on the web.

Each step was to be followed after the previous step was not successful. To harmonise the
procedure we issued a “Guideline to search for the inventors” that was distributed to the team
members in the six countries and described the steps for searching the inventors’ addresses and
telephone numbers.3


Pilot 2
The third pilot survey – Pilot 2 – was conducted in January-February 2003. The aim of Pilot 2 was
to test the latest version of the questionnaire and to involve the poll-companies in the project. The
interaction with the poll-companies at this stage was important: they became familiar with the
questionnaire, they set up the administrative procedures for the collection of the data, and they
tested the software program for retrieving the data needed during the full-scale survey. Another goal
of Pilot 2 was to interview some inventors with multiple patents in order to check their reaction
when they were asked to fill out more than one questionnaire. The response rate to Pilot 2 also
helped decide the number of questionnaires for the full-scale survey.

This pilot was conducted in Germany, Italy and the UK. Given the low number of Spanish patents,
during Pilot 2 Spain started to interact with the poll-company, and used all the patents invented in
Spain for the full-scale survey. The Dutch team improved the web-version of the questionnaire, but
they did not work with any poll-company. France started to set-up the full-scale survey together
with the Ministère de la jeunesse, de l’éducation nationale et de la recherche, who was then in
charge of administering the survey.

In Pilot 2 we conducted about 30 interviews in each country. Like in Pilot 1 we set 30 to be the
target number of questionnaires to be filled out per country, and we contacted as many inventors as
it took to achieve this goal (around 100 in each country). We also tried to find some of the non-
mobile inventors discussed earlier to check how hard it was to find them. In general, we tried to


3
  In the UK there was an additional problem in that the phone-books only report the surname and the initials of the first
names. This made the search for the right person more difficult when there was not an exact match because there are
many more people with the same surname and initials. Steps 1, 2, and in part 3 were then more impractical than in the
other countries as more calls had to be made to find the person. This explains why the UK had to sent out relatively more
questionnaires than the other countries to reach the target number of patents, as shown by Table 2.3 (lower response
rate). See also the discussion about the UK survey method in Section 2.5.
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mimic the conditions under which the full-scale survey was performed. We employed the
procedures described in the “Guideline” to search for the addresses of the inventors, and we used
the common glossary for labelling the variables and building up the dataset.4



2.5         Full scale survey


The full scale survey started with the definition of the final version of the questionnaire. Each team
decided the methodology to apply to the own country to maximize the response rate. We selected a
stratified sample that included all the opposed or cited patents in our 1993-1997 sample period and
in our six countries, and a random sample of the other patents such that the expected number of
returns was close to the targeted size of our dataset, as discussed in Section 2.3. To choose the
number of patents to which to submit the questionnaires, we estimated the response rates from the
ones observed in Pilot 1 and 2. Table 2.2 shows the composition of the patents to which we
submitted the questionnaires. It can be compared with the population of 1993-1997 patents in Table
2.1 above, and with the patents that were returned and constitute our dataset in Table 2.7 below.

                      Table 2.2 Composition of target patents for the full scale survey, by country

    Group                                               DE         ES        FR       IT      NL       UK     EU6
    Opposed Patents                                   9.98%       4.17%    12.82%   12.72%   4.73%    3.96%   8.40%
    Not opposed and cited                             50.79%      19.02%   46.01%   62.80%   13.83%   11.42% 35.52%
    Others (not opposed and not cited)                39.23%      76.81%   41.17%   24.48%   81.44%   84.62% 56.08%
    Total                                             10500        815      5842     2500     3955     7846   31645




Period
The full scale survey started in May 2003 with the exception of France where the survey started in
September 2003.

The first round of interviews was performed by telephone, mail or web, and was followed by a large
number of recalls. The last country to finish the interviews was France in April 2004.


Survey method
Although the six countries in the project chose different means to administer the survey (paper
questionnaire, telephone interviews, web survey, poll-companies), all of them employed a “recall
strategy” in order to encourage the inventors to reply. Moreover, all the teams managed by
themselves (not through the poll company) all the interviews with the inventors with three or more
patents.

The Spanish survey was conducted by telephone. Inventors were approached by asking the

4
    We did not however over-sample the important patents at this stage.
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applicant of the patent to talk to them, or by calling them at home. On average, Spain spent 10
telephone calls per patent.

The Dutch team implemented the web questionnaire both in Dutch and in English. Inventors were
assigned a login number and a password. Each inventor had a personal web page with the data
about his/her specific patent (i.e. name of the applicant, name of the co-inventors, etc.) Each
inventor received a letter with the description of the project, the recommendation letters of the
European Commission and the EPO, and the title and abstract of the patent. The letter asked
him/her to login to the survey web page and to fill out the survey. The login page of the website
asked the respondent to indicate if he/she was the inventor of the patent. If the inventors did not fill
out the questionnaire after 3-4 weeks, the Dutch team sent them a reminder letter.5 While the letters
were out, about 15 inventors contacted the team, indicating they could not fill out the questionnaire
on the web because they did not have Internet access, or because of problems in the browser (old
browsers and some non-IE browsers). Almost all these inventors were interviewed by telephone.
Two inventors asked for a paper questionnaire and filled it out, and the information they provided
was entered in the website.

The German inventors could choose whether to reply by mail or by web. To do so the paper
questionnaires were sent to the inventors by a subcontractor company (Target Group, Nürnberg,
Germany) together with a letter. The letter contained a link to the web questionnaire. Questionnaires
addressed to multiple inventors and to inventors with addresses abroad were forwarded by the
German team. The first recall took place on July 8th, 2003 through a reminder postcard sent to 7,056
inventors who did not fill out the questionnaire. The remainder to single inventors was carried out
by the subcontractor company; the German team did the remainder to multiple inventors and
inventors living abroad. The second recall took place on October 15th, 2003 and was directed to a
random sample of 1,250 inventors drawn from all the inventors who did not answer so far.
Assuming that these inventors had already thrown away the questionnaires, the German team sent
them another copy of the questionnaire by mail.

The pilot tests suggested that the web survey was not well suited for the Italian inventors. Therefore
Italy performed telephone interviews. The inventors were first contacted by telephone to inform
them about the survey and to confirm the mailing address. They received a paper version of the
questionnaire together with a one-page information about their patent(s) and with a letter about the
PatVal-EU project. The Italian survey took place in three waves: the first one was managed by a
poll-company between May and July 2003; the second one started in September 2003; and the last
one was run between December 2003 and January 2004. The Italian team administered the final two
waves. The data collection finished in January 2004. During the first wave of the survey we divided
the sample in two groups: one composed of all the inventors with one or two patents; the other one
composed of inventors with “multiple patents” (more than two patents). The poll-company
contacted the first group, while the Italian team managed directly the second one. The Italian team


5                                                                                                             rd
  For all the inventors who did not fill out the questionnaire, the team started a telephone campaign on July 3 . Inventors
who did not respond after the reminder were asked by telephone to fill in the survey on the web, or to do an interview by
telephone. If the inventor chose the latter, the interviewers (students of Eindhoven University of Technology) logged in
and read the questions from the screen. These cases were considered as a sub-sample of the non-response group after
the reminder, and we plan to use them as a check for potential non-response analyses.
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performed two rounds of telephone recalls in order to raise the response rate.

In the UK the survey was conducted by mail. 7,846 questionnaires were sent to the first inventor
listed in the patents. At the end of the first round, 754 questionnaires had been completed. Then,
1,822 inventors who received the paper questionnaire were called by telephone to invite them to fill
out the questionnaire. If the inventors had lost the questionnaire, the UK sent them another copy.
The UK also gave the inventors the possibility to fill out a web-based questionnaire. The English
team particularly insisted on patent categories 1 and 2 during the telephone reminders. The UK sent
out a second round of 2,000 additional questionnaires to the inventors (for budgetary reasons the
poll-company NOP could not send more than 2,000 questionnaires). In the meanwhile, 110 first
inventors who were contacted in the first round asked for another copy of the questionnaire. In a
third round, the UK sent 1,705 questionnaires to 1,529 inventors from SPRU directly to the third
inventor listed in the patents and to inventors found from telephone reminders.

In France, the survey was conducted by the Ministère de la jeunesse, de l’éducation nationale et de
la recherche in Paris. It was a mail survey with four reminders. The first questionnaire was sent to
all the inventors to the addresses listed in the patent document. When the questionnaire returned to
the Ministère with the mention “unknown at this address”, the French team started to search for the
actual address of the “not found” inventors. The search was performed by looking at more recent
patents applied by the same inventors and, if this method was not successful, the French team
consulted the White Pages.

The French survey had some differences with respect to the other countries. The Statistical
Department of the Ministry had extensive databases and information about the applicant
organisations that made it easier to contact them (e.g. directories of firms or institutions, addresses,
departments). As a result, some of the questions could be directed to managers or other people
inside the organisation who could answer in a more informed way than the inventors. We could not
adopt the same procedure for the other teams, as they did not have similar information about the
applicant organisation, as we shall also discuss in Section 6.3. Thus, in the French case, the
questions about the costs of the research, the source of funding, the use and the value of the patents
were asked to the patent applicant (i.e. the firm or the public research institution that submitted the
patent application at the EPO). They are questions D10-D19 and all the questions of Section F (F1-
F8). (See our questionnaire in Annex I.) To reduce the burden of response on the inventors, they
were not asked these questions. Only the question about the monetary value of the individual patent
(question F7) was asked to both the inventors and the companies. All the other questions were
asked only to the inventors. The applicant companies with 1 or 2 patents received a mail
questionnaire followed by 2 reminders. The applicants with more than 2 patents were first contacted
by telephone, while the questionnaires were shipped only after the French team found a person in
the organization who was going to fill them out.

It is also important to clarify that in the French survey the questionnaires were not just sent to the
applicant organisation or the inventor, and some questions were answered by the latter while others
were answered by a manager. The mails with the questionnaires were shipped independently to the
inventors and the managers. The applicant organisations returned 1,002 questionnaires, and the



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inventors returned 1,486. Of these 587 questionnaires overlapped, that is they were about the same
patents.6


Response rate
The number of responses by country is reported in Table 2.3, together with the number of contacted
patents and response rates. The observed differences in the country response rates stem from the
different methodologies adopted to contact the inventors. The extreme cases are Italy and the UK.
They can be easily explained by the different survey methodologies, which − as noted − were
justified by the need to match the different attitudes and characteristics of the countries and their
inventors. The UK sent out 7,846 questionnaires to the inventors listed in the EPO patents without
checking in advance the validity of the address. As noted earlier, this is because the procedure set
forth in our “Guidelines to search for the inventors”, and discussed under Pilot 1 in Section 2.4
above, was more impractical for the UK as the phone books only report surname and initials (rather
than full first name). They therefore obtained a response rate of 19.65%. In Italy the questionnaires
were sent out only to inventors with a correct address. These inventors were contacted by telephone
before mailing them the questionnaire. They accepted to participate in the survey, and they were
called twice afterwards to remind them to fill out the papers. The higher response rate of the
Netherlands can be explained by the greater effectiveness, in that country, of the web questionnaire,
which reduced the inventors’ response time and cost. All other countries have a response rate
around one-third, which is in line with most surveys.

In the French case Table 2.3 shows the total number of responses and the response rates of the
questionnaires returned by the inventors. The response rate for the 1,002 patents returned by the
applicants is 23.86%, while the response rate for the 587 questionnaires responded by both the
applicants and the inventors is 13.98%.7

                                        Table 2.3 Full scale survey, response rates

    Group                                               DE         ES        FR*       IT     NL        UK       EU6

    Number of contacted patents                        10215       815      4199      1953    2594     7846     27531

    Number of responses (patents)                       3346       269      1486      1250    1124     1542     9017

    Response rate
                                                       32.76%     33.01%   35.39%   64.00%   43.33%   19.65% 32.75%
    (in relation to the number of contacted patents)
    * Number of responses by inventors.




6
  Ex-post, we regretted that the questions that were asked to the managers were not also asked to the inventors. This
might have reduced the inventors’ response rates because of a slightly higher burden of response (though not higher
than in the other countries). But we would have collected the inventors’ responses on these questions like for the other
countries.
7
  The total number of French patents for which the questionnaire was filled out is then 1,901, that is (1,486+1,002-587).
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2.6        Final dataset


In order to harmonise the data collection across countries, we prepared a glossary to code the
information gathered through the questionnaire. The glossary was tested in Pilot 2 and was used to
construct the final dataset.

In the end we received 9,216 questionnaires filled out by the inventors, with the following
distribution: Germany 3,346; France 1,651; Italy 1,250; the Netherlands 1,157; Spain 270; the UK
1,542 (Table 2.4). Some questionnaires were filled out also by 1 or 2 co-inventors, and hence they
were about the same patent. We received 2 questionnaires on the same patent from 2 different
respondents for 185 innovations (155 in France, 29 in the Netherlands and 1 in Spain); and 3
questionnaires on the same patent from 3 respondents for 7 innovations (5 in France, 2 in the
Netherlands). Table 2.4 shows the distribution of the surveyed patents by country. It mirrors the
relative size of the country population of patents. In the French case we reported the number of
questionnaires filled out by the inventors, and the corresponding number of patents.

                                      Table 2.4 Size of the final PatVal-EU datasets

Country                           N. questionnaires               %               N. patents          %

Germany                                 3,346                 36.31%                   3,346        37.11%

Spain                                    270                  2.93%                    269           2.98%

France                                  1,651                 17.91%                   1,486        16.48%

Italy                                   1,250                 13.56%                   1,250        13.86%

Netherlands                             1,157                 12.55%                   1,124        12.47%

UK                                      1,542                 16.73%                   1,542        17.10%

Total                                   9,216                  100%                    9,017         100%



Our final dataset includes about 7% responses from inventors whose exact address only matched a
later EPO patent (after 1997) and 5% inventors without a later EPO patent, whose address was
found with the procedure discussed under Pilot 1 in Section 2.4 above.8 Because the average exact
matches were 64%, our full scale dataset under-represents the 36% non exact matches. Also, we
have no way to figure out whether the proportions between inventors with and without later EPO
patents are really 7 over 5. We can only say that we have to be careful about this potential bias in
our data. However, the high rate of exact matches (64% on average, but even above 80% for
Germany or Spain, and about two-thirds for France, Italy and the Netherlands − see footnote 1)
suggests that in Europe the mobility of inventors is not pronounced. Hence, the extent of this
potential bias may not be dramatic. It may be more serious for our UK data.

In the reminder of the report we show the country statistics based on the number of patents (and not
the number of questionnaires). We therefore excluded (randomly) the double or triple answers for


8
    There are minimal differences in these two percentages across our six countries.
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the same patent.9 All the statistics are computed by excluding the missing values from the total
number of observations. Annex II shows the detailed and complete summary statistics, and
indicates the number of missing values for each question. In the case of France our Tables on patent
characteristics use the information given by the inventors in order to ensure homogeneity with the
other countries.

Table 2.5 describes the composition of the datasets by macro technological classes. The five
technological macro-classes are defined according to the ISI-INIPI-OST patent classification based
on the EPO IPC classes.10 Mechanical engineering and process engineering are the most represented
classes at the EU6 level. In the Netherlands the share of electrical engineering patents is higher than
the European average, while in the UK the share of Instruments is above the average. Table 2.6
shows the country distribution of patents by using a more disaggregated technological
classification.



                              Table 2.5 Macro-technological classes by country, in %

Technological Class                      DE          ES           FR           IT         NL          UK         EU6
Electrical engineering                13.33%       10.41%       15.55%      16.00%     23.40%       16.73%     15.81%

Instruments                           10.28%       6.69%        11.04%       8.40%     10.68%       14.92%     10.88%

Chemistry, Pharmaceuticals            19.16%       20.45%       15.55%      16.16%     20.46%       20.10%     18.51%

Process engineering                   25.37%       27.14%       25.37%      26.24%     25.53%       21.66%     24.93%

Mechanical engineering                31.86%       34.94%       32.50%      33.04%     19.93%       26.59%     29.83%

Total                                  100%         100%        100%         100%       100%         100%       100%

Note: patents have been classified according to the ISI macro classes.




9
  The information on double or triple patents were however used to check for the consistency of information provided by
different inventors. We found that there was a quite good consistency among the responses.
10
   We used the technology-oriented classification system jointly elaborated by the German Fraunhofer Institute of
Systems and Innovation Research (ISI), the French Patent Office (INIPI) and the Observatoire des Science and des
Techniques (OST). It distinguishes among 30 technologies and 5 higher-level technology areas based on the
International Patent Classification (IPC). For the concordance between ISI-INIPI-OST technological classes and EPO
IPC classes see Hinze et al. (1997).
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                                          Table 2.6 Technological classes by country, in %

                                                 DE         ES           FR           IT        NL        UK       EU6

Electrical devices, electrical engineering,
                                                8.04%      6.72%        7.81%       6.81%     8.27%     6.29%      7.52%
electrical energy
Audio-visual technology                         1.23%      0.37%        1.28%       1.28%     5.16%     2.66%      1.95%

Telecommunications                              2.09%      2.99%        3.23%       2.80%     6.49%     3.44%      3.18%

Information technology                          1.02%      0.37%        2.49%       3.04%     2.49%     3.96%      2.21%

Semiconductors                                  0.96%      0.00%        0.74%       2.08%     0.98%     0.39%      0.95%

Optics                                          1.55%      0.00%        1.41%       1.36%     2.85%     3.05%      1.87%

Analysis, measurement, control technology       6.31%      4.10%        5.38%       3.93%     4.98%     8.43%      5.96%

Medical technology                              2.03%      2.61%        3.50%       2.64%     2.58%     2.85%      2.58%

Organic fine chemistry                          6.72%      8.58%        5.65%       5.53%     3.83%     6.81%      6.09%

Macromolecular chemistry, polymers              6.96%      4.10%        2.49%       5.37%     6.14%     2.98%      5.14%

Pharmaceuticals, cosmetics                      1.43%      2.24%        3.43%       1.36%     1.25%     2.33%      1.91%

Biotechnology                                   0.30%      0.00%        1.01%       0.56%     2.14%     0.91%      0.78%

Materials, metallurgy                           3.62%      4.85%        4.91%       2.48%     2.40%     2.79%      3.42%

Agriculture, food chemistry                     0.39%      2.24%        1.21%       1.04%     3.38%     1.75%      1.28%
Chemical and petrol industry, basic
                                                3.35%      3.36%        1.75%       2.32%     3.74%     5.32%      3.33%
materials chemistry
Chemical engineering                            2.96%      2.99%        4.37%       2.08%     3.38%     3.50%      3.22%

Surface technology, coating                     1.64%      2.24%        1.21%       1.52%     0.89%     1.82%      1.51%

Materials processing, textiles, paper           5.53%      3.73%        4.91%       7.85%     4.45%     4.60%      5.40%

Thermal processes and apparatus                 2.15%      1.49%        2.02%       2.64%     2.94%     1.23%      2.12%

Environmental technology                        2.15%      1.12%        0.87%       1.12%     1.69%     1.56%      1.61%

Machine tools                                   4.06%      4.48%        3.03%       6.25%     1.25%     2.08%      3.52%

Engines, pumps, turbines                        3.02%      2.24%        1.95%       3.37%     1.16%     4.22%      2.84%

Mechanical Elements                             5.83%      2.24%        4.17%       3.13%     2.40%     3.96%      4.33%

Handling, printing                              7.92%      9.33%        5.85%       10.10%    7.38%     6.10%      7.54%
Agricultural and food processing, machinery
                                                1.55%      2.99%        3.23%       1.12%     5.34%     1.30%      2.24%
and apparatus
Transport                                       8.55%      6.72%        7.40%       6.09%     4.18%     5.84%      6.96%

Nuclear engineering                             0.39%      0.00%        0.74%       0.48%     0.27%     0.58%      0.47%

Space technology weapons                        0.57%      1.12%        1.68%       0.32%     0.09%     0.32%      0.63%

Consumer goods and equipment                    3.89%     10.82%        6.80%       7.69%     4.00%     4.35%      5.19%

Civil engineering, building, mining             3.80%      5.97%        5.45%       3.61%     3.91%     4.60%      4.26%

                                                100%       100%         100%        100%      100%       100%      100%




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                                                                    SECTION 2. THE SURVEY OF EUROPEAN INVENTORS


Table 2.7 highlights the impact of the over-sampling criteria adopted in the sampling procedure, and
shows the composition of our dataset by country. Compared to the population of patents in Table
2.1, the over-sampling procedure produced about 15% additional observations for the “important
patents” at the aggregate EU6 level in our final dataset. The share of “important patents” is higher
in Italy, Germany and France compared to the other three countries.

                                     Table 2.7 Dataset composition by Country

                                      DE         ES          FR           IT       NL        UK        EU6

Opposed Patents                      9.98%     4.48%      11.71%       10.10%     6.49%     3.63%     8.60%
Not opposed and cited                51.79%    16.04%     26.58%       48.16%    13.97%     12.52%   34.64%
Others (not opposed and not cited)   38.22%    79.48%     61.71%       41.75%    79.54%     83.85%   56.77%
Total                                 3346       269         1486       1250      1124       1542      9017



Figure 2.1 and Table 2.9 show the sex and age of the inventors. Figure 2.1 displays the share of
female respondents and their distribution across the EU6 countries. There are only 2.82% female
inventors in the EU6. The largest share is in Spain (8.21%) and the lowest is in Germany (1.64%).
The extremely low share of women in inventive activity is consistent with the statistics about
women’s participation in S&T reported in the Third European Report on Science and Technology
Indicators (European Commission, 2003b). However, the proportion of female inventors is
strikingly smaller than the share of women researchers in all disciplines (29%) at the EU-15 level,
of women researchers in engineering disciplines (12%) and of female R&D personnel in the
business sector (European Commission, 2003b). These data, in line with the European debate on
this issue, suggest that women represent a broad unexploited potential for the intensification of the
inventive activity in Europe.

As far as their age is concerned, Table 2.9 shows that the inventors are uniformly distributed across
the age classes between 31 and 60 years with a peak in the central class. About 5% of inventors are
less than 30 years old and 5.5% are older than 60 years old. Interestingly, the share of young
inventors (under 40) is the highest in the Netherlands, while the share of “old” inventors is the
largest in Germany (above 50).




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                                                             SECTION 2. THE SURVEY OF EUROPEAN INVENTORS


                   Figure 2.1 Female inventors as % of all inventors




                                          2.82%
        EU6


        UK                            2.64%



         NL                      2.05%


                                          2.74%
         IT


        FR                                                     5.33%



        ES                                                                             8.21%


                             1.64%
        DE


          0%      1%        2%    3%         4%         5%     6%        7%    8%       9%




                                 Table 2.8 Age of inventors

          DE           ES            FR                IT           NL         UK              EU6
<=30     2.72%    11.11%          6.03%            5.61%        6.50%         5.06%          4.80%
31-40    31.40%   32.94%         27.75%           30.46%        36.66%        26.66%         30.55%
41-50    27.20%   28.17%         36.44%           32.98%        33.54%        38.35%         32.31%
51-60    32.00%   21.03%         25.02%           25.26%        21.06%        24.16%         26.85%
61-70    6.29%     5.56%          4.00%            5.28%        2.08%         5.12%          5.00%
>70      0.39%     1.19%          0.76%            0.41%        0.17%         0.66%          0.50%
         100%      100%           100%             100%          100%         100%           100%




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                                                            SECTION 3. EDUCATION, EMPLOYMENT, AND MOBILITY




SECTION 3.             EDUCATION, EMPLOYMENT, AND MOBILITY



3.1    Inventors’ education


This section examines the characteristics of the inventors in the PatVal-EU survey. It deals with
their education, their working status at the time in which the research leading to the patent was
performed, and their mobility across different firms and institutions. There is a broad consensus
among economists and policy-makers about the impact of R&D and innovation in general, and
human capital in particular, on productivity and economic growth. The Key Figures 2003-2004
issued by the European Commission recognise the role of education and training as important
means to achieve the overall Lisbon objectives. The European Commission (2002) also estimates
that one additional year of schooling increases the aggregate productivity by 6.2% for a typical
European country (European Commission, 2002). For the time being, however, the amount of
resources devoted to R&D, the quality of the education system, and the number and productivity of
skilled human capital vary enormously across the EU countries. This section contributes to
highlight the status of the inventors in Europe, and the differences across the six EU countries
interviewed.

                  Figure 3.1 Share of inventors with tertiary education and Ph.D degree

                                                                    PhD         Tertiary



                                                                                      76.05%
                 EU6                      25.60%

                                                                                           79.25%
                  UK                            31.52%

                                                                                           83.10%
                  NL
                                       20.64%

                                                                    56.16%
                  IT
                         3.12%

                                                                             66.02%
                  FR
                                       22.07%

                                                                                  71.75%
                  ES
                                       21.56%

                                                                                           84.43%
                  DE
                                                   34.82%

                    0%    10%    20%     30%     40%     50%     60%      70%      80%       90%




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                                                          SECTION 3. EDUCATION, EMPLOYMENT, AND MOBILITY


Figure 3.1 shows the level of education of the PatVal-EU inventors. The overall share of inventors
with university degree is 76.05%, while the share of inventors with a Ph.D is 25.60%. There is
considerable variation across countries. Germany is leading the other 5 countries in both indicators:
the share of tertiary educated inventors is 84.43% and the share of inventors with a Ph.D is 34.82%.
The share of inventors with tertiary education in the Netherlands and the UK is close to Germany
(83.10% and 79.25% respectively). It falls to 71.75% for the Spanish inventors and to 66.02% for
the French inventors. The share of inventors with a Ph.D is around 20-22% in the Netherlands,
Spain and France while in the UK is much closer to the German one (31.52%). Italy is lagging
behind: the share of inventors with tertiary education is only 56.16% and the share of inventors with
a Ph.D is 3.12%.


3.2    Patents, inventors and organizations


Figure 3.2 looks at the employment position of the inventors when the research leading to the patent
was performed. The largest majority of the inventors are employed in organisations that they do not
own (“dependent” inventors, 89.23% for the overall EU6). This share reaches a peak in the
Netherlands (93.06%), followed by Germany (91.86%), the UK (90.48%), France (85.95%), Italy
(82.74%), and Spain (81.10%). In the EU6 a small fraction of the inventors is self-employed (an
average of 7.81%) with no considerable variation across countries.



      Figure 3.2 Inventors’ employment position when the research leading to the patent was performed

                                                           Dependent     Self-employed     Other


                2.96%
      EU6            7.81%
                                                                                                  89.23%
             1.27%
      UK                8.25%
                                                                                                   90.48%
              0.98%
                        5.96%
       NL                                                                                           93.06%
                      8.55%
       IT                     8.71%
                                                                                          82.74%
                3.99%
      FR                 10.07%
                                                                                            85.95%
                         9.84%
      ES                            9.06%
                                                                                         81.10%
             1.32%
      DE              6.82%
                                                                                                    91.86%

        0%       10%          20%       30%   40%   50%      60%       70%     80%        90%       100%




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                                                                    SECTION 3. EDUCATION, EMPLOYMENT, AND MOBILITY


 Figure 3.3 Type of organisation in which the inventors were working when the research leading to the patent
                                                was performed

                                                  Large Firms       Small/Medium Firms     PRI         Other

               2.58%
    EU6            5.36%                 21.95%
                                                                                                       70.11%
                4.33%
     UK              8.59%                   26.56%
                                                                                          60.52%
            1.16%
     NL               7.53%
                                         22.10%
                                                                                                       69.21%
              3.01%
      IT      2 76%                               29.81%
                                                                                             64.42%
               3.03%
     FR            6.33%
                                          24.48%
                                                                                                  66.16%
             1.60%
     ES                 8.40%
                                                           36.00%
                                                                                 54.00%
             1.94%
     DE         3.51%
                                14.58%
                                                                                                                      79.98%

       0%           10%          20%        30%            40%         50%         60%           70%            80%


 Note: “PRI” indicates Public Research Institutes such as Government Research Organization, University and other
 Education Institutes; “Other” stands for Hospital, Foundation, Private Research Organization and Other residual
 categories. Large firms denote firms with more than 250 employees; small-medium firms less than 250.




Figure 3.3 shows the type of organisation in which the inventors were employed. The business
sector is the largest source of innovations in all six countries: 70.11% of the total number of
inventors is employed in large companies (more than 250 employees); 21.95% are in small and
medium enterprises (less than 250). Only 5.36% of the inventors work in Public Research Institutes,
and 2.58% are in other organisations like hospitals and foundations.
There is diversity among the six countries, however, in terms of the importance of the large vs. the
small and medium firms in producing innovations. As expected, the largest share of inventors
employed in large organisations is in Germany: 79.98% of the inventors are employed in large
companies against a share of 14.58% working in small and medium enterprises. The share of
inventors employed by large firms is around 69% in the Netherlands, 65% in France and Italy, and
60% in the UK. In Spain the share of inventors employed in large firms falls to 54%. In the same
country, the share of inventors employed by small and medium firms is the highest among the EU6
countries (36%). Italy and the UK follow with 29.81% and 26.56% respectively. All in all these
data are indicative of the relative importance of the business sector, and in particular of the large
firms, in producing innovations in Europe. It also confirms the role of the small and medium
enterprises in producing innovations in countries like Italy and Spain.
Finally, the UK exhibits the largest share of inventors working in public research institutions
(8.59%). The lowest is in Italy (2.76%).




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                                                            SECTION 3. EDUCATION, EMPLOYMENT, AND MOBILITY


3.3    Inventors’ mobility


Table 3.1 displays the inventors’ job mobility.

             Table 3.1 Number of times the inventors changed employer during their working carrier

                           DE         ES         FR          IT        NL         UK         EU6
         0               83.12%      88.80%     82.28%     75.43%     69.88%     62.56%     77.28%
         1               10.99%       9.65%     11.79%     16.55%     18.23%     25.04%     14.91%
         2                 4.13%      1.54%      4.09%      6.41%      7.33%      8.24%      5.40%
         3                 1.39%      0.00%      1.23%      0.97%      1.88%      3.30%      1.60%
         More than 3       0.37%      0.00%      0.61%      0.65%      2.68%      0.86%      0.81%
         Total          100.00%    100.00%    100.00%      100.00%   100.00%    100.00%    100.00%



Most of the inventors never changed job during their working carrier. The EU6 share of inventors
who never moved is 77.28%, with differences across countries. The less mobile inventors are in
Spain, Germany and France: 88.8%, 83.12% and 82.28%. Italy and the Netherlands follow with
75.43% and 69.88%. The UK is the country with the smallest share of non-mobile inventors:
62.56%. Most of the inventors who changed job, moved only once. The share of EU6 inventors who
moved more than three times is 0.81%. Recent contributions point out that there is a positive
correlation between the researchers’ productivity and their mobility, and highlight the importance of
human capital mobility as a mechanism through which knowledge spillovers take place (Klepper,
2001; Zucker, Darby and Armstrong, 1998). A goal of our research agenda based on the PatVal-EU
data is to investigate the relationship between the inventors’ mobility and their innovative
performance.




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                                                                          SECTION 4. THE INVENTION PROCESS




SECTION 4.               THE INVENTION PROCESS

This section explores the “black box” of knowledge production. It deals with three issues: the
importance of collaborations among individual inventors and among different organisations in the
innovation process; the sources of knowledge to produce the innovations, and their relative
importance; the origin of the innovations.



4.1    Collaboration


Figure 4.1 shows the extent of collaboration among individual inventors in the research leading to
the patent. Only one third of the overall number of PatVal-EU patents is developed by “individual”
inventors. The overall EU6 share of “multiple inventors” patents is 63.44%. Compared to the EU6
average, the size of the research networks is larger in the Netherlands (66.9% of “multiple
inventors” patents) and in Germany (65.87%). The UK (59.92%) and Italy (60.72%) are below the
EU6 Average. Spain is at the bottom of the list in terms of the propensity to establish research
networks among individual inventors: the share of patents invented by “multiple inventors” is
52.04%.

                          Figure 4.1 Share of patents with more than one inventor




                  EU6                                                            63.44%


                                                                                59.92%
                   UK


                   NL                                                               66.90%



                    IT                                                          60.72%



                   FR                                                            63.39%



                   ES                                                  52.04%


                                                                                    65.87%
                   DE


                     0%      10%     20%      30%        40%   50%      60%       70%




The “multiple inventors” considered in Figure 4.1 might belong either to the same organisation or to
different organisations. In fact, quite often there are no multiple applicants even if the invention is
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                                                                                 SECTION 4. THE INVENTION PROCESS


conducted under some formal, let alone informal, collaboration. Figure 4.2 reveals whether one or
more co-inventors involved in the development of “multiple inventors” patents are affiliated to
organisations different from the primary inventor’s organisation. The EU6 share of patents
developed by inventors affiliated to different organisations is 23.94%. In the UK this share reaches
35.52%. It falls to 21.88%, 19.29% and 16.05% in Spain, France and Italy respectively, where the
networks of inventors tend to be within the same organisation, with a limited role of external
linkages compared to the other countries. The Netherlands and Germany are close to the EU6
average.

   Figure 4.2 Share of patents where one or more co-inventors are affiliated to organizations other than the
                                         inventor’s primary employer




                                                                      23.94%
                  EU6


                   UK                                                                     35.52%



                    NL                                                23.86%



                    IT                                16.05%


                                                             19.29%
                    FR


                    ES                                           21.88%


                                                                       23.82%
                   DE


                      0%      5%      10%      15%     20%       25%       30%      35%     40%




Figure 4.3 shows the share of patents invented in collaboration with other partners. Consistently
with Figure 4.2, the EU6 share of patents produced by using external collaborations is 20.53%. This
share is higher in the Netherlands (34.52%), while the UK, France, Italy and Spain are close to the
EU6 average. Only 13.32% of German patents are invented in research projects that involve
external firms and institutions. This is consistent with Figure 3.3 that shows that a high share of
German inventors are employed in large companies that tend to internalise the R&D process within
the firm boundaries.




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    Figure 4.3 Share of patents developed through a formal or informal collaboration between the employer
                                      organisation and other partners



                                                                20.53%
                 EU6


                                                                        23.33%
                  UK


                                                                                              34.52%
                  NL


                   IT                                              21.94%


                                                                    22.68%
                  FR


                  ES                                           19.55%


                                                13.32%
                  DE


                    0%       5%      10%      15%        20%       25%           30%    35%




No distinction is made in Figure 4.3 between formal and informal collaborations to develop the
innovations. Figure 4.4 shows the share of formal collaborations (i.e. collaborations through well
defined contracts among the parties) in the PatVal-EU database. It indicates that, when different
firms and institutions take part in a research project leading to a patent, the partners normally
establish formal collaborations (74.6%). About one fourth of the collaborations, however, are
informal. This is the part of the inter-organisation networking that the data on multiple applicants,
R&D collaborations, etc. do not capture. This also suggests that there are some informal
interactions among organisations that give rise to knowledge spillovers among inventors and
institutions that are not mediated by any apparent market mechanism.

To explore further the role of the collaborations among inventors, Table 4.1 uses a scale from 1 to 5
to show the average importance of the interactions that the inventors set up either with people
belonging to his/her own organisation, or with people belonging to other organisations. It also
considers the geographical distance between the parties (i.e. less or more than one hour to reach
physically the partner) to highlight the effect of geographical proximity in fostering knowledge
exchange.
Table 4.1 indicates that the interaction with other members of the same organisation are on average
more important than the interaction with people affiliated to other organisations, especially if they
are geographically close. For the overall EU6, the importance of the interaction with people
belonging to same organisation of the inventor (including affiliates) that typically takes less than
one hour to be reached ranks first (3.02). This is so for all the six countries. When it takes more than
one hour to reach the location of the other researcher, the inventors rank very similarly the
importance of the interaction with people from the same organisation and from other organisations,
both at the EU6 level (1.31 and 1.32 respectively) and in each country. Only in Spain the affiliation
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                                                                                       SECTION 4. THE INVENTION PROCESS


to the same firm seems to be important in fostering the interaction between close and distant
inventors. Finally, the interaction with people from other organisations that are geographically close
is the least important form of collaboration both at the overall EU6 level and in each country, which
suggests that, on average, geographical proximity does not encourage interactions among
unaffiliated organizations.

                                   Figure 4.4 Share of formal collaboration agreements




                                 25.4%




                                                                                          Formal
                                                                                          Informal




                                                                                74.6%




              Table 4.1 Average importance of the interactions between the inventor and other people

Forms of Interactions                                        DE       ES       FR        IT           NL       UK      EU6
Inventors’ organisation (including affiliates), and it
typically took less than one hour to reach the other         2.88     3.51     3.20      2.53         3.31     3.24     3.02
people’s office or location                                 (1.91)   (1.83)   (1.80)    (1.92)       (1.85)   (1.81)   (1.88)

Inventors’ organisation (including affiliates), and it
typically took more than one hour to reach the other         1.07     2.85     1.42      1.12         1.23     1.69     1.31
people‘s office or location                                 (1.55)   (2.18)   (1.69)    (1.65)       (1.65)   (1.84)   (1.70)

Other (unaffiliated) organisations, and it typically took
ess than one hour to reach the other people’s office         0.73     0.73     1.41      0.57         0.85     0.96     0.88
or location                                                 (1.33)   (1.50)   (1.71)    (1.19)       (1.45)   (1.44)   (1.45)

Other (unaffiliated) organisations, and it typically took
more than one hour to reach the other people’s office        1.25     0.94     1.53      1.08         1.30     1.54     1.32
or location                                                 (1.75)   (1.63)   (1.80)    (1.67)       (1.76)   (1.83)   (1.77)

Note: Average values. Standard deviations are in parentheses.
Scale adopted: 0=no interactions; 1=not important, 5=very important.




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4.2      Sources of knowledge


Figure 4.5 and Table 4.2 list the sources of knowledge for developing the innovation, and their
average importance on a scale from 0 to 5. The sources of innovation taken into account are: the
firm’s competitors, the suppliers, the customers, other patents developed before the patent in the
survey, the scientific literature, the participation in conferences and workshops, the knowledge
developed in university and non-university laboratories.

Figure 4.5 shows the share of inventors who rated “important” the use of the sources of innovation
listed above, i.e. the share of inventors who assigned at least 3 (on a scale from 0 to 5) to the
importance of the sources of innovation. The firm’s customers are the most common source of
innovation with 63.89% of the inventors who rated them as important, followed by the knowledge
supplied by the patent literature and the scientific literature (58.87% and 58.79%). The interaction
with the firm’s competitors is an important source of innovation for 49.13% of the inventors. The
participation in conferences and workshop is important in 37.62% of the cases, and the contacts
with the firm’s suppliers are important for 32.52% of the inventors. University and non-university
research laboratories are a relatively unimportant source of innovation. Only 22.39% and 13.44% of
the inventors rated the knowledge coming from university laboratories and from non-university
laboratories as important.



        Figure 4.5 Share of inventors who rated “important” the use of the following sources of innovation




                  University labs                          22.39%


       Non university public labs               13.44%


 Technical Confer & Workshops                                                 37.62%


              Scientific literature                                                                          58.79%


                Patent literature                                                                            58.87%

                                                                                                                  63.89%
               Customers/users


                        Suppliers
                                                                        32.52%


                     Competitors                                                              49.13%


                                  0%   10%         20%         30%         40%          50%            60%            70%



      Note: Share of inventors who assigned at least 3 to the importance of each source of knowledge on a scale 0-5
      (0=not used, 5=very important).




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                        Table 4.2 Average level of importance of sources of innovation by country

                                         DE          ES          FR        IT          NL           UK     EU6

                                         1.23       1.02       1.19        0.76        1.43      1.32       1.20
University labs
                                        (1.59)     (1.68)     (1.60)      (1.47)      (1.75)    (1.72)     (1.63)
                                         0.91       0.72       0.94        0.38        0.96      0.77       0.83
Non university public labs
                                        (1.37)     (1.43)     (1.40)      (1.04)      (1.44)    (1.27)     (1.35)
                                         1.99       1.28       1.51        1.63        1.55      1.69       1.74
Technical Confer & Workshops
                                        (1.78)     (1.66)     (1.65)      (1.75)      (1.56)    (1.69)     (1.72)
                                         2.71       2.53       2.36        2.82        2.45      2.72       2.63
Scientific literature
                                        (1.84)     (1.98)     (1.94)      (1.86)      (1.74)    (1.87)     (1.86)
                                         2.83       2.89       2.62        2.48        2.40      2.77       2.69
Patent literature
                                        (1.86)     (1.77)     (1.93)      (1.88)      (1.74)    (1.88)     (1.87)
                                         3.25       2.62       2.40        2.86        2.81      3.03       2.95
Customers/users
                                        (1.90)     (1.92)     (2.00)      (1.95)      (1.88)    (1.95)     (1.95)
                                         1.58       1.36       1.73        1.29        1.56      1.92       1.62
Suppliers
                                        (1.71)     (1.54)     (1.81)      (1.65)      (1.64)    (1.83)     (1.74)
                                         2.42       2.01       2.38        1.96        2.00      2.08       2.24
Competitors
                                        (1.87)     (1.70)     (1.96)      (1.85)      (1.70)    (1.83)     (1.86)
 Note: Average values. Standard deviations are in parentheses.
 Scale adopted: 0=not used, 5=very important.




Table 4.2 looks at the average importance of the sources of innovations listed in Figure 4.5. At the
overall EU6 level, the firm’s customers are ranked first (2.95), with little variation among the six
European countries. The patent and scientific literature are in the second and third position (2.6
both), followed by the firm’s competitors (2.24), the participation in technical conferences and
workshops (1.74), and the interaction with suppliers (1.62). Finally, the knowledge coming from
university and non-university research laboratories are at the bottom of the ranking with an average
importance of 1.20 and 0.83.


4.3      Origins of the invention


This sub-section shows the origins of the innovations in terms of the research project that led to the
patent, the fact that the innovation is part of a group of intertwined patents, and the type of funds
that the inventors used to develop the innovation.

Table 4.3 lists some scenarios that describe the invention process leading to the patent. The most
frequent answer is that the invention is the expected output of a research project aimed at achieving
a specific goal (38.20%). This is so for all the six countries in the survey, with some variation
among them. At the overall EU6 level, the second most frequent scenario is that the idea leading to
the patent was directly related to the inventor’s normal job which is not inventing, and it was further
developed in a research project afterwards (20.17%). The remaining 40% of the inventors are
distributed evenly across the other three scenarios: the invention was an expected by-product of a
research project not directly related to the main target of the project (11.54%); the invention was an
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unexpected by-product of a research project not directly related to the main target of the project
(11.57%); the idea came from pure inspiration and creativity or from the inventor’s normal job
which is not inventing, and was patented without further research or development efforts (13.87%).

Therefore, roughly half of the innovations are the direct or indirect expected output of a targeted
research project (i.e. the invention was a targeted achievement or an expected by-product of a
research project). The remaining half arises unexpectedly from research projects undertaken for
other purposes or from activities other than inventing. This is so for all the six countries. Moreover,
when the innovation is directly related to the inventor’s normal job, which is not inventing,
companies tend to develop it further in a targeted research project. This is so for Spain (23.2%),
France (34.5%), Italy (25.4%), The Netherlands (16.7%), and the UK (16.4%).

                Table 4.3 Scenario that best describes the innovative process (share of inventors)

                                                             DE       ES      FR        IT      NL      UK     EU6

The invention was the targeted achievement of a             29.66    57.60   44.00     37.02   40.84   45.83   38.20
research project

The invention was an expected by-product of a research
project, not directly related to the main target of the     16.77    6.40    5.63      13.10   10.50   6.98    11.54
project
The invention was an unexpected by-product of a
research project, not directly related to the main target of 16.65   3.20    3.19      5.78    16.64   11.60   11.57
the project
The idea for the invention was directly related to the
inventor’s normal job (which is not inventing), and was     14.17    23.20   34.58     25.39   16.73   16.36   20.17
then further developed in a (research) project

The idea for the invention came from pure
inspiration/creativity or from your normal job (which is
not inventing), and was not further developed in a       20.47       3.60    3.66      17.58   6.94    14.08   13.87
(research or development) project (was patented without
further research or development costs)

Other                                                       2.28     6.00    8.95      1.14    8.36    5.15    4.64


Total                                                        100     100     100        100     100     100     100




Figure 4.6 shows the share of patents that are part of a group of intertwined patents. As noted
earlier, for “intertwined patents” we mean a group of patents that crucially depend on each other
technically or in terms of their value. The EU6 share of patents that are part of a group of
intertwined patents is 44.92%. There are, however, differences among countries. The Netherlands,
for example, have 53.82% of such patents, followed by Germany (46.17%), France (42.98%), Italy
(42.72%), the UK (41.18%), and Spain (31.62%). A goal of our research agenda is to understand
the factors that explain the production of intertwined patents. For example, the scale of the research
projects carried out in large firms, the technological complexity of some innovations, or strategic
reasons might induce to apply for groups of related patents.




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                 Figure 4.6 Share of patents that are part of a group of intertwined patents




                  EU6                                                    44.92%



                  UK                                                 41.18%



                   NL                                                              53.82%



                   IT                                                 42.72%



                   FR                                                 42.98%



                   ES                                      31.62%



                  DE                                                      46.17%


                     0%       10%        20%       30%        40%        50%        60%




Finally, Table 4.4 lists four sources of funding for the research leading to the patent. The inventors
were allowed to pick more than answer, which explains why the sums in the columns are above
100%. At the overall EU6 level 89.37% of the innovations were developed by using the firm’s
internal funding. There is little variability among countries. The two extremes are the Netherlands
with the lowest share of company funding (77.94%) and Germany with the largest (94.03%).
Government research funds come second at the EU6 level, with 8.70% of the patents. This is the
second source of funding in all six countries with the exception of the Netherlands where, although
the share is 11.21%, government funding is ranked third, after the funds provided by unaffiliated
organisations that join the research project. In all the other countries, and for the EU6 as a whole,
the unaffiliated organisations are the third most important source of funding. The banks and other
financial institutions enter the picture only marginally with 1.15% of patents at the EU6 level, with
no large variation among countries.




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            Table 4.4 Types of financing of the research leading to the patent (share of inventors in %)

                                           DE         ES         FR         IT          NL       UK        EU6

Internal funds of the patent applicant
(including his subsidiaries)             94.03      90.84      91.73      88.00       77.94     87.33      89.37


Funds from any other unaffiliated
organization joining the project          3.27       2.39       3.62       2.40       13.08      3.83      4.59

Funds from financial intermediaries of
any kind (banks, other financial          0.37       1.20       1.55       2.40        1.42      1.32      1.15
institutions, etc.)

Government Research Programmes or
other government funds                    5.41      23.11      10.24       9.52       11.21      9.77      8.70


Other                                     4.70       2.39       1.55       6.95        4.36      8.05      5.16

Note: Multiple responses allowed.




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                                                                                  SECTION 5. INVENTORS’ REWARDS




SECTION 5.                   INVENTORS’ REWARDS

The rewards of the inventors from their patents differ according to the institutional system in which
the inventors and their organisation operate, the type of organisation in which the inventors are
employed, and the policies adopted to affect the inventors’ performance. In some countries, the law
regulates the assignment of the property rights between the inventor and the organization. For
example, by allowing university patenting on Federally funded research, the US Bayh-Dole Act
enables the universities to require that their employee disclose their inventions in order to prepare
the patent application and define the distribution of rights between the university itself and the
government (see, e.g. Mowery et al., 2001.) In some cases there are formal rules to reward the
successful inventors, like in the German compensation scheme (German Employees’ Inventions
Act, 1957). This is a formal rule enacted by law whereby the employers can claim the inventions
developed by their employees by “reasonably” compensating the inventors. The compensation is
calculated from some guidelines provided by the Act, and it is based on the expected value of the
innovations.

Of course, individual organizations may have different policies to reward their inventors. In many
cases there are no rewards. The most active companies in rewarding their inventors are those that
place greater to attention to an efficient management of their patent portfolios, and hence that have
a natural interest in motivating their inventors. In some large companies technology managers
organise internal competitions to reward the most productive inventors in terms of quantity or
expected value of the innovations. For example AT&T, a company known for its forceful patenting
strategy, selects a few patents (2 to 5 per year) that receive the “AT&T Strategic Patent Award” for
the significant contribution of these patents to the company business.11

Apart from monetary compensation, inventors can benefit from other personal or social rewards for
their innovations. According to the importance that they assign to these rewards, firms can design
different policies to influence the innovative performance of their researchers. Table 5.1 shows the
average importance assigned by the surveyed inventors to six types of patent rewards. The last
column summarises the EU6 values, and it shows that monetary rewards, and other rewards created
by the employer like career advances or benefits, are considered less important than “personal”
rewards like personal satisfaction or prestige and reputation. In particular, the latter two motivations
are deemed very important by a large portion of inventors.

There are only a few cross-country differences in the ranking of these preferences. German
inventors assign very high values to all types of rewards, with the exception of career advances.
Similarly, the UK inventors consider all the motivations important, with the exception of the impact
that the innovation might have on the performance of the organisation. Monetary rewards and other




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     See the website http://www.att.com/attlabs/reputation/patents/index.html .
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                                                                                      SECTION 5. INVENTORS’ REWARDS


rewards coming from the employers receive low scores by the Spanish inventors, who have greater
consideration for personal and social rewards.

                          Table 5.1 Average level of importance of rewards for the invention

Rewards                                                  DE        ES        FR        IT       NL        UK     EU6

                                                        3.03      2.13      3.59      3.00     2.65      3.01    3.05
Monetary rewards
                                                        (1.36)   (1.37)    (1.25)    (1.36)    (1.37)   (1.43)   (1.39)

                                                        2.70      2.60      3.31      3.13     2.87      3.26    2.97
Career advances and opportunities for new/better jobs
                                                        (1.32)   (1.42)    (1.30)    (1.33)    (1.29)   (1.32)   (1.34)

Benefits in terms of working condition as a reward by   3.68      3.30      2.94      3.08     3.20      3.70    3.43
the employer                                            (1.22)   (1.37)    (1.23)    (1.28)    (1.20)   (1.15)   (1.26)

Satisfaction to show that something is technically      4.12      4.12      4.06      3.96     4.05      3.87    4.04
possible                                                (1.07)   (1.16)    (1.07)    (1.13)    (1.02)   (1.20)   (1.10)

                                                        3.99      3.92      3.88      3.85     3.87      4.02    3.94
Prestige/reputation
                                                        (1.13)   (1.18)    (1.16)    (1.20)    (1.17)   (1.08)   (1.14)

Innovations increase the performance of the             2.95      2.17      1.91      2.75     2.19      2.37    2.57
organisation the inventor works for                     (1.37)   (1.29)    (1.19)    (1.32)    (1.22)   (1.28)   (1.36)
Note. Scale: 0=not at all important; 1=not important, 5=very important. Standard deviations in parentheses.




Inventors were also asked if they have actually received some monetary compensation for the
surveyed patent, and if the compensation was permanent or transitory. Figure 5.1 reveals that one
third of the EU6 inventors received some monetary compensation. However, the differences by
country are noticeable. Because of the German’s Act it is not surprising that this country exhibits
the highest share of patents in which the inventor was compensated (61.27%). The effectiveness of
the Act shows quite clearly as the second country is the UK with only 28.21% of the patents
producing a compensation to the inventors. Italy (23.06%), the Netherlands (17.46%), and Spain
(14.74%) follow. We could not include France in this analysis because of the very high number of
missing observations.

The monetary compensation is transitory in most of the cases (Figure 5.2). At the EU6 level 89.02%
of the inventors who received a monetary compensation for their patent had a transitory
compensation, 3.81% had a permanent compensation, and 7.17% received both types of rewards. In
Spain, Italy, and the Netherlands, where the share of inventors who received a monetary
compensation is lower compared to the other countries, the share of permanent reward is the
highest, and it ranges between 15% and 19%. In the other countries the share of permanent rewards
is much lower.

Finally, we can compare the actual share of inventors who received a monetary compensation with
the importance assigned by the inventors to different forms of reward. Inventors consider social and
personal rewards more important than other types of compensation. But this is probably because
they are aware of the “incentive” policies operated by their organizations, which usually do not
contemplate monetary compensation (with the exception of Germany). Therefore, their incentives

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                                                                                  SECTION 5. INVENTORS’ REWARDS


to innovate are de facto different from receiving money. In general, however, the social motivations
to innovate are quite strong, both when the inventors actually receive a monetary compensation and
when they do not. These data also confirm that it is not common for the employers to introduce
tangible monetary incentives in their innovation policies. The research on this issue is crucial for
managers and policy makers because it provides information that help improve the policies for
innovation.



              Figure 5.1 Inventors who received a monetary compensation for their patents (%)




                  EU6                                               41.66%



                   UK                                  28.21%



                                              17.46%
                   NL



                    IT                            23.06%



                   ES                    14.74%



                                                                                       61.27%
                   DE


                     0%       10%       20%        30%        40%     50%       60%       70%

              Note: France is not included due to the high number of missing values on this variable.




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                                 Figure 5.2 Types of monetary rewards (%)

                                                               Permanent     Transitory       Both


            3.81%
  EU6                                                                                     89.02%
               7.17%

           3.64%
   UK                                                                                     88.35%
               8.01%

               6.19%
    NL                                                                        78.35%
                       15.46%
              5.32%
    IT                                                                        77.66%
                        17.02%
            2.70%
    ES                                                                        78.38%
                          18.92%

             3.65%
   DE                                                                                         92.47%
            3.88%

      0%      10%      20%       30%     40%     50%     60%      70%       80%     90%       100%

Note: Percentage computed on the inventors who received some monetary compensation.




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                                                                         SECTION 6. THE VALUE OF PATENTS




SECTION 6.             THE VALUE OF PATENTS



6.1    The economic use of patents


The production of a patented innovation does not imply that it will be used economically. For one
reason, the path between the invention and the actual commercialisation of a new product or
technology can be long and costly. Thus, many patents are never employed commercially, and in
general only few inventions yield economic returns. On many occasions, the non-use of a patent
does not depend on intrinsic features of the innovations, but for example the inventors may not have
adequate assets to exploit them (e.g. smaller firms, individual inventors, scientific institutions). This
is an important point because the ability to translate new technologies into economically valuable
goods or services is crucial for the competitiveness of firms, regions, and countries. At the same
time, many patents are simply left unexploited (“sleeping patents”) (Palomeras, 2003), and Rivette
and Kline (2000) have shown that this is most often the case in large firms. Finally, some patents
are not used because they were applied only for strategic reasons, like blocking some competitor. In
our survey we asked for the motivation of the applicants to patent, and as we shall see below in
quite a few cases patents were sought to block rivals.

Figure 6.1 shows that the share of “internally” used patents in our sample. These are the patents that
are exploited by the applicant for industrial and commercial purposes. Roughly 60% of the EU6
patents are used internally by the applicant. The country shares range between 57% and 65%. The
non-internally used patents could either be unused or licensed to a third party that exploits them.
Figure 6.2 shows that the EU6 share of licensed patents in our sample is 13.62%. The UK leads the
other countries with 17.92% of licensed patents. Germany is at the bottom of the list with 10.99% of
licensed patents, and it is followed very closely by Italy (11.15%). Spain and the Netherlands
license out 15.85% and 15.57% of their patents respectively.

By combining the information about licensing and internal use we obtain the proportion of unused
patents (Figure 6.3). It turns out that on average 37.56% of the patents in our sample are not used.
Since we over-sampled important patents, the share of unused patents in the population is probably
higher than in our sample, because the important patents are more likely to be used than the average
patent. The share of unused patents can then be quite large. The information on the use or non-use
of the patents is important for policy. Unused patents are likely to be socially undesirable because
not only are they not used, but they also prevent others from using the invention. Understanding the
determinants of unused patents can help design better policies for a more intensive exploitation of
the innovations.




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         Figure 6.1 Share of patents used for commercial or industrial purposes




        EU6                                                          60.31%


                                                                57.77%
         UK


         NL                                                        58.36%



          IT                                                         61.29%



         FR                                                                   72.23%



         ES                                                               65.32%


                                                                   58.25%
         DE


            0%     10%      20%     30%     40%     50%      60%      70%          80%


     Note: France shows a high number of missing values on this variable (about 15.5% for France against
     2.3% on average for the other 5 EU countries).




                           Figure 6.2 Share of licensed patents




        EU6                                                              13.62%



         UK                                                                         17.92%


                                                                                  15.57%
         NL


                                                            11.15%
          IT


         FR                                                                         17.00%



         ES                                                                         15.85%


                                                            10.99%
         DE


            0%     2%      4%      6%      8%     10%     12%      14%      16%      18%


     Note: France shows a high number of missing values on this variable (about 30.4% for France against
     4% on average for the other 5 EU countries).




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                                      Figure 6.3 Share of unused patents




                  EU6                                                           37.56%



                   UK                                                            38.47%


                                                                                   39.13%
                   NL


                                                                              36.48%
                    IT


                                                               25.87%
                   FR


                                                                          32.93%
                   ES


                                                                                    39.88%
                   DE


                      0%           10%           20%           30%           40%             50%


               Note: France shows a high number of missing values on this variable (about 35.6% for France against
               4.5% on average for the other 5 EU countries).



Along with the unused patents, the shares of licensed patents suggest that there is room for
improving the functioning of the markets for patented technologies. The transfer of patent rights,
and more generally the rise of markets for technology have become increasingly important in recent
years. They raise the expected returns from patents, as the latter can be sold by the patent holder to
other organisations that have the resources and the competencies to exploit them. Research on this
issue can benefit from the detailed data we collected through the PatVal-EU survey. Existing
empirical analyses on the commercialisation of innovations focus on the sectors in which licensing
is more frequent, like semiconductors, chemical and computer. Some of them use aggregate cross-
section analysis (Anand and Khanna, 2000; Cohen et al., 2000) while others are grounded on
studies in specific sectors (for example in the semiconductors Grindley and Teece, 1997; Hall and
Ziedonis, 2001; in chemicals Arora, Fosfuri and Gambardella, 2001; Cesaroni, 2003).

A patent can also be used to create a new firm that exploits economically the patented innovation.
Many start-ups in industries like biotechnology, semiconductors, instruments and chemicals used
their intellectual property as a means for obtaining financing and corporate partners that are critical
for the successful commercialisation of new knowledge.

Moreover, if firms do not have the resources and the capabilities needed to exploit the innovation
economically, they might decide not to produce the innovation in the first place. The intellectual
property rights enable them to sell the rights on the innovation to other firms that own the
development and commercialisation assets. This encourages the formation of firms that operate in
the upstream innovation sector, and the further development of the markets for technology. Some
recent literature analyses the determinants and the extent of university spin-offs that use licensed

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patents. These contributions are based on studies of specific universities and research institutions
(Shane, 2004; Shane and Kharuna, 2003).

Figure 6.4 reports the share of patents used to start-up a new firm. On average, 4.99% of patents
gave rise to a new firm. This share is the highest in the UK (9.69%) and Spain (9.27%). It is the
lowest in Germany (2.72 %) and France (1.42%). In the UK both the share of licensed patents and
new firm formation is higher than the EU6 average, together with the share of tertiary educated and
PhD inventors, and with a high propensity to patent by the university and other research institutions.
By controlling for other factors, our future research will study these correlations. It will suggest
policy implications based on the relationship between entrepreneurship, innovation and the presence
of tertiary and post-graduate educated researchers. Moreover, small firms specialised in the
production of new technologies can be a major factor in enhancing the employment and the
economic performance of specific regions (see also Eurostat, 2002). Therefore, a patent system that
allows for the formation of such firms can produce positive economic effects.

                          Figure 6.4 Share of patents used to start a new company




                  EU6                                     4.99%



                   UK                                                                   9.69%



                   NL                                    4.75%



                    IT                                            5.97%



                   FR              1.42%



                   ES                                                                  9.27%


                                           2.72%
                   DE


                     0%          2%           4%           6%             8%         10%




6.2    Motivations for patenting


The factors that motivate inventors to patent can be different from the factors that motivate the
organisations in which they work. Inventors might want to gain tangible compensations or, more
often, they want to receive social rewards or personal satisfaction. At the organisation level, patents
are normally part of a strategy of protection of intellectual property rights. A study conducted in the
US by Cohen, Nelson and Walsh (2000) shows that patents are not the most important mean for
appropriating the returns from innovation. Secret, lead-time and investments in complementary

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assets are on average more important. They also point out that there are reasons for patenting that
are different from the mere protection of innovation which is internally exploited for industrial
purposes, like licensing, cross-licensing or other strategic reasons.

Table 6.1 shows the average importance of six motivations to patent for the organisations in which
the inventors are employed. The values for the EU6 indicate that the most important reasons for
patenting are the commercial exploitation and the prevention from imitation. In other words, the
organisations patent mainly because they seek exclusive rights to exploit economically, and
because, by patenting the “inventions around”, they prevent others to imitate their valuable
innovations. Another reason for patenting is to block competitors that might patent similar
innovations, which suggests that patents are important for competitive reasons more than for
evaluating or motivating people within the organizations. Indeed, organisations do not see
reputation as being one of the most important reasons for patenting, while it ranked high as a
motivation for the inventors.

At the country level prevention from imitation is the most important reason in Germany, while
strategic reasons, like blocking patents, are lower than the European average. Licensing and cross-
licensing are relatively more important in the UK.

                             Table 6.1 Average level of importance of reasons to patent

                                                         DE        ES        FR        IT       NL        UK     EU6

                                                        3.64      4.18      3.81      4.00     3.70      4.35    3.86
Commercial exploitation
                                                        (1.56)   (1.26)    (1.52)    (1.32)    (1.65)   (1.09)   (1.48)


                                                        2.15      2.95      1.65      2.13     1.93      2.70    2.18
Licensing
                                                        (1.33)   (1.57)    (1.39)    (1.37)    (1.77)   (1.53)   (1.49)


                                                        1.85      1.85      2.09      1.97     1.66      2.25    1.94
Cross-licensing
                                                        (1.22)   (1.20)    (1.60)    (1.30)    (1.79)   (1.36)   (1.41)


                                                        4.01      4.06      3.64      4.17     3.28      3.97    3.88
Prevention from imitation
                                                        (1.40)   (1.27)    (1.61)    (1.15)    (1.80)   (1.26)   (1.46)


                                                        2.45      3.69      3.38      3.93     3.39      3.68    3.14
Blocking patents
                                                        (1.50)   (1.42)    (1.69)    (1.32)    (1.75)   (1.40)   (1.63)


                                                        2.24      3.26      2.20      2.87     1.79      2.90    2.39
Reputation
                                                        (1.34)   (1.38)    (1.54)    (1.44)    (1.67)   (1.42)   (1.50)

Note. Scale: 0=not at all important; 1=not important, 5=very important. Standard deviations in parentheses.




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                                                                                 SECTION 6. THE VALUE OF PATENTS


6.3        The economic value of patents


Patents are expected to have a positive impact on competitiveness, entrepreneurship, and
employment, which offset some of the social costs of intellectual property protection. Section 6.1
has shown some data on the economic use of patents, which can be interpreted as indirect measures
of their (social) value. In this section we consider a monetary measure of patent value.

Several authors estimated the value of patents by employing indirect measures. Some contributions
employed information on the renewal fees paid by the patent holders (Pakes and Schankerman,
1984; Pakes, 1986; Schankerman and Pakes, 1986). The rationale for this approach is that the
renewal fees are paid only if the expected returns from the patents are higher than the costs of
keeping the patent rights. Other contributions found a positive correlation between the economic
value of the patents and their forward citations (Trajtenberg, 1990; Hall et al., 2001). Lanjouw and
Schankerman (1999) constructed a composite indicator of value based on observable correlates like
citations, oppositions, and family size. Only a few studies use survey-based information on the
economic value of patents in specific countries (see, for German and US patents, Harhoff et al.,
1999a, 1999b, 2003; Scherer and Harhoff, 2000).

In the PatVal-EU survey we asked the inventors to estimate the minimum price at which the owner
of the patent (whether the firm, other organisations, or the inventor himself) would have sold the
patent rights on the very day in which the patent was granted. This is a measure of the present value
of the patent for the applicant.

We asked the inventor to assume that the applicant had all the information available at the moment
in which he responded to the questionnaire. This improves the precision of the estimate as we
employ more information about the patent. There could be differences in the amount of available
information about the patent value, e.g. more recent patents use less information. Yet, the answers
to the questionnaires were given in 2003-2004 (see Section 2.5). This is 6-7 years after the
application year of the latest patents in the survey (1997). This is a sufficient time span for a good
deal of information to become available. Most likely, there is far less additional information 10-11
years after the application (for the earliest 1993 patents in PatVal-EU) compare to 6-7 years
thereafter than, say, between 0 and 4 years after the application.

The Figures below report the monetary value of patents obtained through the PatVal-EU survey.
Figure 6.5 shows that the distribution of patent value is skewed, with only a small share of high-
valued patents. Only 16.81 % of the patents are worth more than 3 million Euros, and 7.23 % are
worth more than 10 million Euros. This monetary measure allows us to discriminate between low
value patents that cannot be observed by using other correlates like patent citations (for which the
number of zeros is very high).12 Also, recall that the PatVal-EU sample overweights opposed
patents and patents with at least one citation. This makes our distribution more skewed to the right
than the distribution of the population of patents.




12
     See for example Harhoff et al. (1999a, 2003), Scherer and Harhoff (2000).
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                                   Figure 6.5 Distribution of the patent value (Euro)


           25%
                                                    21.80%
                                         20.65%

           20%
                               17.40%
                                                              15.46%

           15%


                                                                           9.58%
           10%
                    7.88%



            5%                                                                       3.70%
                                                                                                 2.00%
                                                                                                               0.76%    0.77%

            0%
                 Less than 30.000 to 100.000 to 300 000 to 1ml to 3ml   3ml to     10ml to     30ml to    100ml to   More than
                  30.000    100.000   300.000      1ml                   10ml       30ml        100ml      300ml      300ml




Figure 6.6 concentrates on the upper tail of the distribution. It shows the share of patents valued 10
million Euros or more over the total number patents surveyed in each country. In our sample, this
share is about 10.01% in the UK, and 9.02% in Spain. In the Netherlands it is 8.24%, while in Italy
and France it is around 5%. Germany is in the bottom of the list with 4.86% of high value patents.

                             Figure 6.6 Distribution by country of the top valued patents




                                                                             7.23%
                      EU6


                       UK                                                                       10.01%


                       NL                                                            8.24%


                        IT                                         5.41%


                       FR                                           5.51%


                       ES                                                                    9.02%


                       DE                                      4.86%


                          0%          2%           4%          6%           8%           10%             12%




                          Note: Patents valued 10 million Euros or more.




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Figure 6.7 shows the distribution of the value of groups of “intertwined patents”. This is less
skewed than the distribution drawn for the individual patents. Of course, the average value of a
group of intertwined patents is larger than the value of an individual patent. This explains why the
share of high value groups of intertwined patents is higher compared to that of individual patents.
These data also suggest that when an organisation invests in a research trajectory by producing
several patents, it wants to exploit the patents economically either internally or through licensing
and cross-licensing. It might also produce several patents to prevent from imitation or to block
competitors.

At the country level, the UK, Italy and the Netherlands have a share of valuable groups of
intertwined patents higher than the EU6 share. For Spain the share of high value groups of
intertwined patents is low compared to the Spanish share of valued patents, which is consistent with
the low presence of large firms. It is also interesting to note that the UK also invented the largest
share of licensed patents and patents that give rise to new firms. This is consistent with the result
that the UK has a large share of high value individual patents. Similarly, in Spain a high number of
patents were used to set up new firms, which is consistent with the relatively high share of valued
individual patents compared to the relative position in terms of valued groups of intertwined
patents.



                  Figure 6.7 Distribution of the value of groups of intertwined patents (Euro)

            20%                                               19.23%
                                                     18.17%
            18%
                                                                       15.46%
            16%

            14%                             12.58%

            12%
                                                                                9.49%
            10%

             8%                     7.33%
                                                                                        6.06%
             6%
                            3.56%
             4%                                                                                 2.80%
                    1.99%
                                                                                                         1.57% 1.78%
             2%

             0%
                   Less  30.000 100.000 300 000 1ml to    3ml to    10ml to 30ml to 100ml to 300ml to   1bl to    More
                   than    to      to    to 1ml  3ml      10ml       30ml   100ml 300ml        1bl       3bl     than 3
                  30.000 100.000 300.000                                                                         billion


     Note: France not included in these figures because of the very large number of missing values.




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              Figure 6.8 Distribution by country of the top valued groups of intertwined patents




                        EU6                                               21.69%



                         UK                                                           27.29%



                         NL                                                      24.26%



                          IT                                           18.67%



                         ES                                      16.67%



                         DE                                            19.35%


                           0%        5%       10%       15%      20%       25%       30%




                Note: Patents valued 30 million Euros or more.
                France not included because of the very large number of missing values to this question.




6.4    Inventor and manager responses about the value of patents


One concern with our measure of patent value is that the inventors may not be the most informed
respondents about the value of the patents. For one reason, they may have different information.
When the inventor exploits the patent himself, or he is in a self-employed firm, or in a small firm,
he may be better informed to answer our question. In larger firms they may not know much about
the value of the patent, and a manager would be a more suitable person to ask. Since about 70% of
our patents are applied for by large firms, this may be a valid remark. Similarly, for university
patents, individual scientists or researchers may know less than the managers in university licensing
offices.

We have been aware of this problem since we started our survey. Yet, as noted in Section 2.5, apart
from the French survey, where the Ministry had access to good information about the applicant
organisations, the teams in the other countries did not have similar information. By contrast, in the
case of the inventors, we had an address in the patent document from which to start locating them.
Moreover, without some good idea about who to contact in the applicant organisation one could
introduce other biases. The costs and length of the survey could have increased considerably if we
had to find, for a number of patents and applicant organisations as large as the scale of our survey,
the most suited person to respond. At the same time, it is not clear that we could find in a systematic
way, for all our patents, somebody who knew about them better than the inventor. For example, the
right manager might have gone after six or more years. Organisations have probably a better
memory about the successful patents than the less successful or minor ones, while the inventors are
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likely to have good memory of all their patents. In the end, we might have increased rather than
reduced biases and problems of low response rates.

In addition, the inventor is a well defined “type” of individual to look for, and definitely one who
knows about the patent. By a contrast, a “knowledgeable” manager or person for our patent is a
more blurred type. He could be the manager of a patent department in a large firm, or simply the
boss of the inventor, or the technology licensing manager in a university, etc. This also casts doubts
about the very procedure we used in the French case. We sent the questionnaire to the applicant
organisations without really checking who was going to answer – i.e. a “generic” technology
manager, or someone who was actually there and knew about the patent. It is not clear whether this
produced better estimates than asking the inventors, who, as noted, were there when the patent was
applied for and know about it. Probably, for a few patents, making an effort to search for the right
person in the organisation might have been feasible. But our trade-off was that we were after a large
scale survey. This was only possible at the expense of a lower cost per interview, which made it
unfeasible to find the right respondent for each patent. We concluded that asking the inventor was
the best option that we had to pick systematically, at the scale we chose to conduct our survey, a
person who had, on average, a reasonably good knowledge about the value of the patent.

However, because we have always been aware of the problem, in our pilots, and during the full
scale telephone interviews with the inventors, we monitored whether they actually knew about the
value of their invention. In all the countries, our feeling, well supported by conversations with the
inventors in the pilot tests, was that they had a pretty good idea of what the economic value of their
patent was, and we felt that this was so for the inventors of the larger firms (or of the universities)
as well. If anything, we are not sure whether they overestimated the value of their invention because
of pride or else. But this may affect the average of our distribution (everyone claims that his
invention is better) and not much its shape.

We also performed a more rigorous test of the potential bias in the inventors’ response to the patent
value question. As noted in Section 2.5, in the French questionnaire we had 587 patents with
responses from both the inventor and the applicant organisation. For 233 of these patents there was
no response to the value question by either the inventor, the applicant or both. This produced 354
patents with two valid answers. Figure 6.9 shows the distributions of the two value classes. Figure
6.10 shows the distribution of the difference between the classes picked by the inventor and the
manager: –1 indicates that the inventor picked one class shorter than the manager, and +1 denotes
the opposite. Similarly, for (–2; + 2) and so on. Given that there are ten classes, this difference
ranges between (–9; 9). The two distributions in Figure 6.9 overlap to a great extent. They have the
same quartiles, respectively classes 30,000-100,000, 100,000-300,000, 300,000-1ml. Figure 6.10
shows that in slightly more than two-third of the patents the inventors and managers miss each other
by at most one contiguous class (difference between –1 and 1), and for almost 90% of the patents
they miss each other by at most two contiguous classes (–2; 2). Note that the extremes of the
observed distribution of the differences are –5 and 6. Thus French inventors and managers never
pick more than 6 classes apart from one another.




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                               Figure 6.9 Distribution of patent values, responses by French inventors and managers

                                                                       88 90
                         90
                                                                                                                                                 Inventors            Managers

                         80                                                           75 74
                                                        72
                                                               71
                         70

                         60
   Frequencies




                         50
                                             43                                                       42
                                                                                                           41
                         40
                                        34

                         30                                                                                        25
                                                                                                                         23

                         20
                                                                                                                                    10
                         10                                                                                                              7       7
                                                                                                                                                       4
                                                                                                                                                                   1 1            0 0
                               0
                                    Less than         30.000 to     100 000 to   300.000 to        1ml to 3ml   3ml to 10ml 10ml to 30ml     30ml to           100ml to       More than
                                     30.000            100.000       300.000        1ml                                                       100ml             300ml          300ml




Figure 6.10 Distribution of the difference between the patent value class picked by the inventor and the
                                                           manager, responses by French inventors and manager

                                120
                                                                                                           110


                                100



                                   80
                                                                                                                         68
                                                                                               63
                 Frequencies




                                   60


                                                                                                                                    41
                                   40                                             35


                                                                                                                                             18
                                   20
                                                                           8
                                                  3            2                                                                                               3                       2
                                                                                                                                                                          1
                                   0
                                             -5           -4          -3         -2           -1           0         1          2            3             4          5            6
                                                         Difference b/w Class Picked by the Inventor and the Manager (354 obs.)




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To compare the two distributions more formally, we labelled the 10 patent value classes 1-10. The
means of the two distributions are 3.49 for the inventors and 3.35 for the managers. We found that a
two-tail t-test does not reject the hypothesis that the two means are different for a p-value smaller
than 10%. As noted earlier, pride or other factors may induce the inventors to boost the results of
their work. This suggests that they can only overestimate the value of their patents. If so, it is
reasonable to employ a one tail t-test of the null hypothesis of no difference between the two means
against the alternative that the mean response of the inventors is higher than that of the managers.
We find that in this case the null hypothesis of equality of the means is rejected at p < 5%. The
inventors seem to overestimate the economic value of their patents compared to the applicant
organisations. However, such an overestimation is small. We also performed other tests. In
particular, we cannot reject the hypothesis of equality of the standard deviations of the two
distributions, and the Kolmogorov-Smirnov and Wilcoxon rank-sum (Mann-Whitney) test do not
reject the hypothesis that the two distributions are equal.

We also compared the different responses between inventors and managers in the small and large
firms. As noted earlier, the inventors in the large companies may be less informed about the value
of their patents because of the greater organizational distance and the more intensive specialization
of tasks. As a result, the gap in response should be wider in these firms. Among our 354 French
patents we distinguished between the patents applied for by the large firms (more than 250
employees), the small-medium firms (less than 250 employees), and the universities and other
research organisations. We found that the inventors in the larger firms exhibit a higher average
difference in the evaluation of their patents’ value with respect to their managers than in the smaller
firms. The inventors in academia and other non-profit research institutions behave like the small
companies. The three pairs of means (inventors-managers) for large firms, small-medium firms, and
research institutions are respectively: 3.58-3.39, 3.26-3.19, 3.61-3.53. Moreover, we find that the
equality of mean responses between inventors and managers is rejected for the large firms (two-tail
at p < 10%, one tail at p < 5%), while it cannot be rejected for the small firms and research
institutions. In addition, one cannot reject the hypothesis that, pairwise, the three average
differences in the inventor-manager responses are equal, and one cannot reject the hypothesis that,
pairwise, the three standard deviations of the distributions of the differences are equal. Finally, one
cannot reject the two by two hypothesis of the equality of the three distributions according to the
Kolmogorv-Smirnov and the Wilcoxon rank-sum (Mann-Whitney) test. In sum, the slight
overestimate of the inventor’s assessment of the value of their patents compared to the managers
seems to be produced by the inventors in the large firms.




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                                                                                         CONCLUSIONS




CONCLUSIONS AND RESEARCH AGENDA

The investment in the production of new ideas, new knowledge, and new technologies is the engine
for improving the European competitiveness in terms of economic growth and employment levels.
This report presented the micro-level characteristics of the European innovation system.
The data on which the report is based are collected through a survey conducted in 2003 by
interviewing the inventors of 9,432 patent applications submitted to the EPO in 1993-1997. The
project that made the survey possible was funded by the European Commission, and it aimed at
collecting new information on the characteristics of the European inventors, the innovation process
in which they are involved, and the economic value of the innovations they produce.
Sections 3 to 6 presented the main findings of the survey. Our data confirm the small share of
inventors with Ph.Ds in the European innovation system, and the limited mobility of human capital
across companies and organisations. The data also show the relative importance of the business
sector, and in particular of the large firms, in producing innovations. The firms with more than 250
employees account for 70% of the patents in our sample.
Many patents have multiple inventors, which suggests that inventions are a team activity. However,
the vast majority of the co-inventors in the patents belong to the same organisation and are
geographically close. The most common source of knowledge in the innovation process is the
interaction with the customers. University and non-university research is rarely used. Furthermore,
the main source of funding for innovation is provided by the firm, with a minor role of government
research funds and funds from other organisations like banks and financial institutions.
About one third of European inventors received some monetary compensation for their innovations.
However, the data suggest that the motivations of the individual inventors to innovate are more
important than the economic reasons. The data also show that about 60% of the patents are used
internally by the applicant for industrial or commercial reasons. 14% of patents are licensed to other
parties. The patents that are not used economically (either for licensing or internal use) are 38%.
Some of them are simply left unexploited (“sleeping patents”); others serve strategic purposes, like
blocking rivals; yet others are not exploited because the firms lack the downstream capabilities to
use them. This is an important issue, as the unwillingness or inability of firms to exploit the new
technologies economically might hamper economic competitiveness and growth. Because we are
over-sampling important patents, which are more likely to be used economically, the share of
unused patents in the population could even be larger.
Finally, the survey produced information about the monetary value of the innovations. The existing
literature uses indirect measures drawn from the patent documents. We confirm that the distribution
of patent values is skewed, and only few patents yield large returns. PatVal-EU also enabled us to
observe differences in the upper and bottom tail of the patent value distribution. This is not easily
observable from other indicators. For example, citations are zero for the bottom 60% of the
distribution.

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                                                                                        CONCLUSIONS


Our next step in the analysis of the PatVal-EU data will be to explain the patterns presented in this
report by performing rigorous scientific research. Papers will be produced on specific issues. Most
likely, PatVal-EU will be used in combination with complementary data. The scientific
understanding of the underlying issues will also be employed to discuss policy implications for the
European intellectual property rights and more generally for improving the European innovative
performance.




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